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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO




  AARON H. FLECK REVOCABLE TRUST,              )     Case No. 21-CV-01073
  et al.                                       )
                                               )
        Plaintiffs,                            )
  v.                                           )
                                               )
  FIRST WESTERN TRUST BANK, et al.             )
                                               )
        Defendants                             )
                                               )
                                               )
                                               )
                                               )
                                               )
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                                               )
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                      EXPERT REBUTTAL REPORT OF JON S. AHERN, CPA



                          __________________________________




                                     June 15, 2023

                                                                            Ex. E
             ALVAREZ & MARSAL DISPUTES AND INVESTIGATIONS, LLC
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 I. INTRODUCTION
           Assignment

  1.       Alvarez & Marsal Disputes and Investigations, LLC (“A&M”) was retained by Bryan,
           Cave, Leighton, Paisner, LLP to analyze and opine on damages issues related to a dispute
           between plaintiffs The Aaron H. Fleck Revocable Trust, through its Trustees, Aaron H.
           Fleck; Barbara G. Fleck, and The Barbara G. Fleck Revocable Trust, through its Trustees,
           Aaron H. Fleck and Barbara G. Fleck (collectively, the “Trusts”); Aaron Fleck, and
           Barbara Fleck (collectively, “Plaintiffs”), and Defendants First Western Trust Bank
           (“FWTB” or “First Western”), Charles Bantis, and Andrew Godfrey.1

  2.       I issued an initial rebuttal report dated April 14, 2022 (“Initial Report”). In my Initial
           Report, I was asked to review, evaluate, and respond to Plaintiffs’ initial damages claims,
           including the damages-related aspects of the report of Joseph R. Rulison dated March 24,
           2022 (“Rulison Report”). In my Initial Report, I addressed numerous damages issues,
           including the Flecks’ claimed damages, as well as issues related to potential class
           certification. Though I understand that class certification in this matter has been denied,
           many of the analyses and opinions set forth in my Initial Report regarding the Flecks’
           alleged damages remain applicable. I have incorporated certain opinions set forth in my
           Initial Report within this rebuttal report, as appropriate.

  3.       Lari B. Masten issued a report dated May 15, 2023 (“Masten Report”) which sets forth Ms.
           Masten’s opinions of Plaintiffs’ alleged damages. For this rebuttal report, I was asked to
           review, evaluate and respond to the Masten Report’s methodology, analysis, and
           calculations of Flecks’ claimed damages.

  4.       My rebuttal report is only for use in the above-referenced matter.

           Experience and Qualifications

  5.       I am a Senior Director in the Denver office of A&M, an independent consulting firm
           providing services to government agencies, legal counsel, and business entities. I have a
           Bachelor of Arts degree in Economics from Colorado College, and I have taken additional


  1
      I understand that the “class action” component of the Plaintiffs’ Complaint has been dismissed. See Order
        Denying Motion for Class Certification dated December 27, 2022. For purposes of this report, I focus on the
        specific damages of the Flecks and their Trusts without regard for other potential class members.



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        accounting and business courses at Metro State College of Denver. I am a Certified Public
        Accountant licensed by the State of Colorado and a Chartered Global Management
        Accountant.

  6.    I have over 30 years of experience in analyzing accounting, financial and economic issues
        in the context of commercial disputes and other litigation matters, including calculation of
        economic damages, business valuation, and forensic accounting. I have performed detailed
        financial, accounting, valuation, and damages analyses of companies operating in a wide
        variety of industries, including financial services, oil and gas, manufacturing, agriculture,
        travel and leisure, employment, media, technology, automotive, real estate,
        telecommunications, government contracts, insurance, and other industries. I have been
        accepted as an expert on commercial damages by Federal Courts, State Courts, United
        States Bankruptcy Court, arbitration panels, and regulatory agencies, and I have provided
        expert witness testimony on over 35 prior matters, including testimony on behalf of both
        plaintiffs and defendants in commercial litigation.

  7.    A copy of my current resume is provided in Appendix A. A&M is compensated for my
        work at a rate of $525 per hour. A&M’s fees are not contingent upon the outcome of this
        litigation. A list of my testimony during the past four years is included as Appendix B. My
        opinions in this matter are based on an independent and objective analysis of the case facts
        and my extensive experience in evaluating commercial litigation damages.

  8.    A&M’s work on this matter was performed either directly by me or by other A&M
        professionals working at my direction and under my direct supervision.

II. INFORMATION CONSIDERED
  9.    Appendix C contains a list of the documents and information I considered to reach my
        conclusions and opinions. If additional information is produced in this matter, I will
        review it and, if appropriate, update the conclusions and opinions expressed in this report.

  10.   In addition to the analyses and opinions described in this report, I may also be asked to
        perform additional analysis based on new information provided to me between now and
        trial. I understand that I may also be asked to testify at trial and prepare charts or other
        demonstrative exhibits based on the information and analyses included in this report.




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III. BACKGROUND2
  11.      In December 2017, the Flecks secured a bridge loan from FWTB for a new primary residence
           as they pursued the sale of their then current residence. The Flecks, based upon their positive
           experience with FWTB, decided in 2018 to use FWTB to manage two revocable trusts, one
           for Aaron Fleck and one for Barbara Fleck.

  12.      On May 8, 2018, the Flecks and FWTB executed an Investment Services and Custody
           Agreement, a Fee Schedule Agreement, and an Investment Policy Statement (“IPS”) for the
           management of both trust accounts. The IPS indicated that the $8 million in assets ($4 million
           for each trust) would be managed using a moderate portfolio allocation with an investment
           time horizon of 10+ years and a cash flow objective of $500,000 per year.3

  13.      On May 23, 2018, the $8 million in Trust assets were deposited into the two trust accounts at
           FWTB.4

  14.      Plaintiffs allege that, on December 2, 2018, Aaron Fleck instructed FWTB to harvest losses in
           both Trust accounts to offset gains he had realized on other personal transactions. Plaintiffs
           allege that FWTB knew at the time that the Flecks had capital gains related to the sale of their
           home in 2018 totaling between $4 million and $5 million.

  15.      Plaintiffs also allege that because FWTB did not harvest losses, the Flecks were unable to use
           those losses as a tax shield when filing their 2018 or any future tax returns, which purportedly
           resulted in damages to the Flecks due to higher tax payments.

  16.      Furthermore, Plaintiffs allege (as set forth in the Masten Report) that FWTB’s purported
           failure to harvest tax losses on December 3, 2018, caused the Flecks’ Trusts to lose equity
           value, which Plaintiffs claim would have been avoided had FWTB harvested tax losses.5

  17.      Plaintiffs also allege that FWTB mismanaged the Trusts during the approximate one-year
           period from May 23, 2018 to May 13, 2019. According to Plaintiffs, FWTB failed to follow a



  2
       The sources for this section are Plaintiffs’ First Amended Complaint, dated May 14, 2021, and any other cited
       sources.
  3
       May 8, 2018 Investment Policy Statement (FWTB_0000437-443).
  4
       May 2018 Account Statement for each Trust (FWTB_0000300-318, specifically FWTB_0000309;
       FWTB_0000112-129, specifically FWTB_0000121).
  5
      Masten Report, pp. 14-17.



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           coherent investment strategy and failed to adhere to the investment strategy discussed and
           agreed to at the outset of the relationship between the Flecks and FWTB.

  18.      Plaintiffs claim the Flecks’ damages include not only damages from the failure to harvest
           capital losses, but also losses in the investment accounts and attorney fees incurred in
           asserting their claims against FWTB. Plaintiffs seek damages for breach of contract, breach
           of fiduciary duty, and fraud.

  19.      I understand that Defendants deny Plaintiffs’ allegations, including the allegations that Mr.
           Fleck specifically instructed FWTB to harvest additional tax losses, that said instructions were
           communicated in a meeting on or about December 2, 2018, and that FWTB mismanaged the
           Flecks’ Trusts. Defendants also deny that any actions or inactions of FWTB have caused the
           Flecks to suffer any economic damages.

IV. THE MASTEN REPORT
  20.      In the Masten Report, Ms. Masten provides numerous calculations, which she claims
           comprise the Flecks’ economic damages resulting from the alleged misconduct of Defendants.
           Ultimately, the Masten Report presents four categories of alleged damages, as follows:

                    1) The loss of a tax shield due to FWTB’s alleged failure to harvest equity losses as
                        of December 3, 2018;
                    2) The lost equity value in the accounts due to FWTB’s alleged failure to harvest
                        equity losses as of December 3, 2018;
                    3) The Trusts’ alleged underperformance compared to purported benchmark returns;
                        and
                    4) Fees charged on the accounts by FWTB between May 2018 and May 2019.6

  21.      To estimate the Flecks’ lost tax shield, Ms. Masten first determines which investments in the
           Trusts had an unrealized loss as of December 3, 2018 (the date which she concludes the tax
           losses should have been harvested by FWTB) and which of these investments would have
           been candidates for tax loss harvesting. She determines that the selected investments, had
           they been sold by FWTB on December 3, 2018, would have resulted in a realized capital loss
           totaling $128,284.18.7 To calculate the Flecks’ lost tax shield, Ms. Masten then multiplies the

  6
      Masten Report, p. 8.
  7
      Masten Report, Schedule 1.



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           total unrealized loss of $128,284.18 by the Flecks’ estimated marginal tax rate of 28.43%, for
           which she cites to an email from Brittany Dreher, CPA, the Flecks’ tax preparer.8 Ms. Masten
           estimates the value of the Flecks’ lost tax shield to be $36,471.

  22.      For the lost equity calculation, Ms. Masten assumes “FWTB sold the Loss Equities in the
           Trust Accounts and kept the proceeds available for reinvestment in the same securities after
           30 days.”9 Ms. Masten assumes the proceeds from the equity securities’ sales would have
           been kept in interest-bearing cash (money market funds) until the 30-day “wash sale” period
           lapsed, at which point (on January 3, 2019) the proceeds – including interest earned during the
           30-day holding period – would have been used to repurchase the same securities that she
           assumes would have been sold on December 3, 2018. Under this scenario, Ms. Masten
           calculates that the Flecks’ Trusts would have had a higher value totaling $105,678.95 as of
           January 3, 2019. 10

  23.      Ms. Masten also estimates the purported loss in the Trusts’ equity value as of February 6,
           2019, the date on which FWTB started liquidating stocks and certain investments to reposition
           the accounts. She claims “had FWTB followed the Plaintiffs’ instructions to harvest the tax-
           losses and reinvested on January 3, 2019 the Trust Accounts would have had a higher value of
           $116,945.99” as of February 6, 2019.11

  24.      Ms. Masten further estimates the purported loss in the Trusts’ equity value as of May 13,
           2019, approximately one year after the Flecks opened their accounts with FWTB. Ms.
           Masten states that, “Had FWTB followed the Plaintiffs’ instructions to harvest the 2018 tax-
           losses, the Plaintiffs would have had approximately $122,781.95 more equity as of May 13,
           2019.”12 For purposes of her total damages estimate, Ms. Masten uses the total alleged equity
           loss as of May 13, 2019.

  25.      In addition to the purported lost equity value of the Trusts, Ms. Masten also states “Plaintiffs
           claim that the lower performance is a result of FWTB’s failure to properly manage the
           investments, including harvesting the losses as directed, which caused the Plaintiffs’

  8
      Masten Report, Schedule 2.
  9
      Masten Report, p. 14.
  10
       Masten Report. pp. 14-15.
  11
       Masten Report, pp. 15-16.
  12
       Masten Report, p. 17.



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           investments to earn returns lower than the market indices and the stated expectations set forth
           by the parties.”13 For this calculation, Ms. Masten compares the Trusts’ actual financial
           performance while managed by FWTB to purported benchmarks – one of which is the return
           on the stock-only S&P 500 index, and the other is the projected 10-year average annual return
           set forth in the IPS. Ms. Masten concludes FWTB’s alleged failure to properly manage the
           accounts resulted in a reduction of the account values between $139,232.44 and $280,516.56
           as of the time the Plaintiffs closed the accounts in May 2019.14

  26.      Lastly, the Masten Report summarizes the fees charged by FWTB to manage the accounts
           from May 8, 2018 through May 2019. In total, Ms. Masten calculates that FWTB charged the
           Plaintiffs $54,983.12 in fees, which is approximately 0.7% of the Trusts’ balance during the
           approximate one-year period under FWTB’s management.15

  27.      To estimate a range of damages based on the calculations described above, Ms. Masten sums
           the results of each of the four alleged damages categories. In total, the Masten Report claims
           the alleged misconduct of FTWB resulted total nominal damages to the Flecks of between
           $353,468.51 and $494,851.63, as summarized in the table below.

                                   Summary of Masten Report Nominal Damages
                                                                        Lower Range     Upper Range

                    Opinion 2
                     Loss of Tax Shield                             $       36,471.00   $    36,471.00
                    Opinion 5
                     Loss of Equity Value as of May 13, 2019               122,781.95       122,781.95
                    Opinion 6
                     Portfolio Performance Shortcomings                    139,232.44       280,615.56
                    Opinion 7
                     FWTB Fees Charged on Trust Portfolios                  54,983.12        54,983.12
                     Total                                          $      353,468.51 $ 494,851.63
                   Source: Masten Report, p. 8




  13
       Masten Report, p. 17.
  14
       Masten Report, p. 17.
  15
       Masten Report, p. 21. 0.7% = $54,983.12 / $8,000,000.



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  28.      The Masten Report also calculates prejudgment interest through “estimated trial date of
           November 15, 2023” at 8% per annum, in accordance with C.R.S. § 5-12-102 – Statutory
           Interest.16

  29.      Including prejudgment interest through the estimated trial date of November 15, 2023, the
           Masten Report concludes Flecks’ total damages to be between $486,391.62 and $686,525.17.
           The table below summarizes the damages range presented in the Masten Report, including
           prejudgment interest through the estimated trial date of November 15, 2023.

                                    Summary of Masten Report Damages with PJI
                                                                             Lower Range       Upper Range

                    Opinion 2
                     Loss of Tax Shield                                  $       36,471.00    $     36,471.00
                    Opinion 5
                     Loss of Equity Value as of May 13, 2019                    173,802.84        173,802.84
                    Opinion 6
                     Portfolio Performance Shortcomings                         197,089.18        397,222.73
                    Opinion 7
                     FWTB Fees Charged on Trust Portfolios                       79,028.60          79,028.60
                      Total                                              $      486,391.62 $ 686,525.17
                   Source: Masten Report, p. 8

  30.      I was retained to review, evaluate, and respond to Ms. Masten’s conclusions regarding
           Plaintiffs’ potential economic damages, which is the subject of this rebuttal report.




  16
       Masten Report, p. 8. The Masten Report calculates prejudgment interest for the lost equity value, the performance
       shortfall, and the fees; however, the Masten Report does not apply prejudgment interest to the lost tax shield,
       presumably due to uncertainty regarding when the additional capital losses would have saved the Flecks any
       money on their taxes.



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V. SUMMARY OF OPINIONS
  31.     For the purposes of this rebuttal report, I understand that my opinions regarding potential
          damages are only relevant if Plaintiffs prevail on their legal claims against Defendants and
          are determined to be entitled to their reasonably proven economic damages. I offer no
          opinion on liability issues in this matter.

  32.     All opinions in this rebuttal report have been formed to a reasonable degree of professional
          certainty based on my work performed, education, certifications, and experience. Having
          reviewed and evaluated the Masten Report, the Trusts’ financial information, and other
          source documents, I have reached the following rebuttal opinions regarding Plaintiffs’
          alleged damages as set forth in the Masten Report.

          Opinion 1) The Masten Report’s total damages range is based on the sum of
                     overlapping calculations, which double counts damages and would result
                     in Plaintiffs receiving a windfall.
          Opinion 2) The Masten Report’s equity loss damages are based on unsupported and
                     unreasonable assumptions that FWTB would have harvested all tax losses
                     on December 3, 2018 (as opposed to any other date in December) and held the
                     proceeds from security sales in cash for 30 days instead of reinvesting in
                     alternate securities. Using appropriate assumptions, the Flecks’ equity
                     loss damages are zero.
          Opinion 3) The Masten Report’s alleged portfolio “underperformance” damages are
                     based on unreasonable and inappropriate benchmark returns. The
                     Flecks’ portfolio outperformed appropriate market benchmarks under
                     FWTB management.
          Opinion 4) The Masten Report’s alleged tax loss shield damages are overstated and
                     ignore both the taxable capital gains the Flecks would have incurred in
                     Ms. Masten’s but-for scenario and the Flecks’ minimal tax liabilities.
          Opinion 5) Overall, Plaintiffs have not suffered any damages resulting from FWTB’s
                     alleged misconduct.

  33.     I explain the methodologies and bases for the above opinions in the remaining sections of
          this report. I understand that opinions presented as expert testimony must be based upon
          sufficient facts or data and must be the product of reliable principles and methods.
          Ultimately, an expert witness must apply the principles and methods reliably to the facts of
          the case. My approach in this matter is consistent with these threshold requirements.17


  17
       See Colorado Rules of Evidence, Rule 702, Testimony by Expert; Federal Rules of Evidence, Rule 702,
       Testimony by Expert Witnesses.



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VI. ANALYSIS & OPINIONS
   Opinion 1) The Masten Report’s total damages range is based on the sum of overlapping
              calculations, which double counts damages and would result in Plaintiffs
              receiving a windfall.
   34.      As described above, the Masten Report’s calculation of the upper and lower range of
            potential damages adds together the results of Ms. Masten’s analyses related to four
            separate damages categories: 1) the loss of tax shield, 2) loss of equity value in the
            accounts, 3) portfolio performance shortcomings, and 4) fees charged by FWTB to manage
            the accounts. By adding together the results of the four analyses, Ms. Masten double
            counts some of the alleged damages, which results in an overstated calculation of potential
            damages even if the individual components are assumed to be proper (which, as discussed
            throughout this rebuttal report, they are not).

   35.      Specifically, Ms. Masten’s analysis of the lost equity value in the accounts due to FWTB’s
            alleged failure to tax loss harvest and Ms. Masten’s measurement of the portfolio
            performance shortcomings both measure the same thing – an expected higher asset value as
            of May 13, 2019. In describing the basis for her analysis of portfolio performance
            shortcomings, Ms. Masten describes “The Plaintiffs claim that the lower performance is a
            result of FWTB’s failure to properly manage the investments, including harvesting the
            losses as directed, which caused the Plaintiffs’ investments to earn returns lower than the
            market indices and the stated expectations set forth by the parties.”18 The Masten Report’s
            analysis of portfolio shortcomings assumes a “but-for” scenario in which the FWTB
            managed the Trust accounts “properly,” including harvesting the tax losses as allegedly
            directed. Therefore, any decreases in account value measured as part of the Masten
            Report’s estimate of lost equity value related to FWTB’s alleged failure to harvest the tax
            losses is also included in Ms. Masten’s analysis of the portfolio performance shortcomings.

   36.      For example, Ms. Masten opines that FTWB’s alleged failure to tax loss harvest in
            December 2018 resulted in lost equity value in the Flecks’ Trusts totaling $122,781.95 as
            of May 13, 2019.19 Separately, Ms. Masten calculates the portfolio’s alleged
            “underperformance” based on actual returns, which she calculates to be 3.66% before fees


   18
        Masten Report, p. 17 [emphasis added].
   19
        Masten Report, Table 1, p. 16, and Schedule 4.



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            and 2.972% after fees.20 However, if the Trusts had the additional equity calculated by Ms.
            Masten as of May 13, 2019, these returns would have been higher by approximately 1.54%
            (the $122,781.95 of additional equity, divided by the Trusts’ initial $8.0 million balance),
            and the “underperformance” would have been $122,781.95 lower than Ms. Masten’s
            calculation.

   37.      Thus, the Masten Report’s conclusions for alleged lost equity value and alleged portfolio
            underperformance are alternative measurements of potential damages and should not be
            added together to estimate total damages.

   38.      The Masten Report also overstates total alleged damages by adding the “fees” to the other
            categories of alleged damages. For both the lost equity value damages and the portfolio
            performance damages, Ms. Masten assumes that the Flecks’ Trusts would have been
            managed “properly” – which includes both harvesting of additional tax losses in December
            2018 and higher overall portfolio returns during FWTB’s management period.

   39.      If, as Ms. Masten contends, the portfolios would have been managed to harvest the tax
            losses and achieve higher returns, then the Flecks would have no basis to challenge the fees
            charged by FWTB, and thus the fees should not be added to the other damages categories.
            It would be a windfall if Plaintiffs were awarded damages due to FWTB’s alleged failure to
            tax loss harvest and achieve greater portfolio returns, and also refunded the fees that would
            have been incurred if FWTB had “properly” managed the accounts. The refunding of the
            fees charged by FWTB could be an alternative measurement of damages but should not be
            added to the other analyses of the Masten Report in calculating total damages.

   Opinion 2) The Masten Report’s equity loss damages are based on unsupported and
              unreasonable assumptions that FWTB would have harvested all tax losses on
              December 3, 2018 (as opposed to any other date in December) and held the
              proceeds from security sales in cash for 30 days instead of reinvesting in
              alternate securities. Using appropriate assumptions, the Flecks’ equity loss
              damages are zero.
   40.      As described above, the Masten Report estimates damages related to the lost equity value
            in the accounts resulting from FWTB’s alleged failure to harvest losses on December 3,
            2018. According to Ms. Masten’s calculations, FWTB should have sold certain securities
            at a loss on December 3, 2018, held the proceeds in an interest-bearing cash investment for

   20
        Masten Report, Schedule 5.



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            30 days to avoid the “wash sale” rules, then repurchased the same securities on January 3,
            2019. Because the equity markets declined between December 3, 2018 and January 3,
            2019, this scenario would have resulted in the Trusts holding additional shares in most of
            the investments in Ms. Masten’s calculation. Ms. Masten calculates the Flecks’ alleged
            loss of equity value as of three different dates: January 3, 2019; February 4, 2019; and May
            13, 2019, but ultimately estimates the Flecks’ total damages using the loss in equity value
            calculated as of May 13, 2019.

   41.      The Masten Report’s calculation of lost equity value assumes that FWTB would have “kept
            the proceeds [from the harvest sale] available for reinvestment in the same securities after
            30 days” and that the proceeds would have yielded interest over the 30 days at “the same
            yield as the Trust Accounts earned on Cash Equivalents (2.23%) in the month of December
            2018.”21 In other words, the Masten Report’s equity loss damages calculation is based on
            an assumption that FWTB would have kept the proceeds from the loss harvest transactions
            in cash for the entire period from December 3, 2018 to January 3, 2019. As described in
            more detail below, such an assumption is unreasonable and unsupported. Ms. Masten’s
            assumption is inconsistent with what FWTB actually did when other losses were harvested,
            and it is also inconsistent with both the IPS and statements from Mr. Fleck and Plaintiffs’
            own industry expert.

   42.      The Masten Report’s narrowly defined damages scenario contemplates the sale of
            approximately $1.1 million in securities on December 3, 2018.22 The total market value of
            all the Trusts’ holdings as of November 30, 2018 was approximately $7.8 million.23
            Selling $1.1 million in securities and holding the securities in cash equivalents for the
            month of December, if it had occurred as assumed by Ms. Masten, would have resulted in a
            much higher “cash and equivalents” allocation than the target set forth in the IPS, which
            includes a target allocation for Cash and Equivalents of 1%. Over the long term, an
            excessive allocation to cash and equivalents would adversely affect the portfolio’s returns
            since cash and equivalents are lower yielding assets.


   21
        Masten Report, p. 14.
   22
        Masten Report, Schedule 1.
   23
        See the November 30, 2018 account statements for the Trusts [FWTB_0000330 and FWTB_0000140].
        $3,940,131.34 + $3,890,450.19 = 7,830,581.53.



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   43.      Mr. Fleck expressed dissatisfaction with the near-term performance of the portfolio at the
            November 6 quarterly meeting.24 Had FWTB decided to sit in cash for the month of
            December and the equity markets performed at a long-term average rate, the Flecks would
            have missed out on potential return and Mr. Fleck’s displeasure with the account
            performance would have likely increased. Furthermore, reinvesting in equities would have
            been consistent with Mr. Fleck’s preferred investment style, concentrating in a smaller
            number of equities.25 The Masten Report acknowledges that in properly managing the
            accounts FWTB should have kept the funds in equities as Ms. Masten compares the Trusts’
            overall portfolio performance to the S&P 500, an equity index.26 There is no evidence that
            the Flecks would have favored leaving the harvested proceeds in cash, contradicting the
            target allocation in the IPS and potentially losing out on returns should the equity markets
            perform consistent with their long-term average.

   44.      The Masten Report does not provide any analysis which considers the alternative, and
            much more likely, scenario that the proceeds from harvesting the tax losses would have
            been reinvested in alternative funds and equities which were different enough to avoid the
            wash sale rules but similar enough that the Flecks’ accounts would have been exposed to
            the same potential market return. Both Mr. Fleck and Mr. Rulison acknowledged in their
            respective depositions that this “substitution” with alternative investments is common
            practice in the industry, as described below.

   45.      In his deposition, Mr. Fleck was asked about whether he agrees that a potential downside
            of harvesting tax losses is the inability to buy back the same security until 31 days later
            under the wash sale rules. In response, Mr. Fleck stated, “Well, usually, if they sold a
            security, they would buy a similar security, maybe the same field, maybe in another field
            and that security will probably go up more than had he kept it.”27




   24
        FWTB_0005321. “Aaron was displeased at near term performance and backtracked on previous statements
        where he claimed the he’d allow us to manage this strategy for a full year before judging us on our abilities.”
   25
        March 1, 2022 Deposition of Aaron H. Fleck, pp. 161-164.
   26
        Masten Report, p. 20.
   27
        March 1, 2022 Deposition of Aaron H. Fleck, p. 61.



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   46.      Additionally, Mr. Rulison describes “If a fund is sold to harvest a loss, a similar fund could
            be simultaneously purchased to eliminate the risk of missing out on a market upswing.”28
            Further, in deposition Mr. Rulison testified that there are strategies that allow an investor to
            take advantage of market appreciation during the 30 days when an investor is prevented
            from acquiring securities under wash sale rules which “give [the investor] the same type of
            exposure.”29

   47.      In addition to the statements from Mr. Fleck and Mr. Rulison cited above, FWTB’s actions
            indicate that sitting in cash to wait 30 days for the wash sale restrictions to lapse is not what
            reasonably would have occurred. For example, FWTB harvested some losses in the
            Flecks’ Trusts by selling certain equities in October and November 2018. FWTB did not
            leave the proceeds from these transactions in cash; rather, FWTB reinvested the proceeds
            in other equities or funds to keep the portfolio asset allocation aligned with the IPS and
            keep the Flecks’ portfolio exposed to potential equity returns. For example, on November
            23, 2018, FWTB sold 948.992 shares of JANUS HENDERSON ENTERPRISE FUND I
            SHARES in the Aaron Fleck Trust resulting in a loss of $3,340.41 and total proceeds of
            $116,659.59 with the trade settling on November 26, 2018. On November 26, 2018,
            FWTB acquired 2,732.833 shares of DFA TAX MANAGED US SMALL CAP
            PORTFOLIO #5104 for a total cost of $116,610.30 Thus, it is much more likely that, if the
            additional losses had been harvested by FWTB during December 2018 as assumed by Ms.
            Masten, the proceeds would have redeployed quickly into alternative investments.31

   48.      If, instead of sitting in cash for 30 days, FWTB had harvested the losses in December 2018
            and repurchased alternative investments, the alternative investments would have been
            subject to similar market risk and fluctuations as the original securities. If one assumes that
            the alternative/replacement securities would have had the same market returns as the
            “harvested” securities, there would be no loss in equity value to the Flecks’ Trusts.


   28
        Rulison Report, p. 2.
   29
        June 1, 2022 Deposition of Joseph R. Rulison, pp. 103-104.
   30
        See November 2018 Aaron Fleck Trust Account Statement [FWTB_0000330].
   31
        In deposition, John Sawyer describes the potential risk of losing out on market performance as a potential
         drawback of harvesting losses, particularly in a volatile market such as the last couple months of 2018. See
         March 9, 2022 Deposition of John E. Sawyer, pp. 154-155. It is reasonable to assume that FWTB would have
         reinvested the proceeds from harvesting the losses to avoid the risk of being “out of the market."



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   49.      For example, if the approximate $1.1 million of proceeds from the hypothetical December
            3, 2018 tax loss harvest sales had been used to purchase an S&P 500 index fund, the Trusts
            would have incurred losses during the 30 day “wash sale” period instead of earning interest
            while remaining in cash equivalents. The losses incurred over the 30-day period would
            have reduced the amount available to repurchase investments in January 2019 to a level
            which would have prevented the Trusts from acquiring the same number of shares which
            were held in the investments at the beginning of December prior to the hypothetical tax
            loss harvesting. In this scenario in which the proceeds from the tax loss harvesting would
            have been invested into an S&P 500 index fund, FWTB’s alleged failure to harvest the
            losses preserved equity value for the Flecks and results in zero lost equity value damages to
            the Flecks. See Attachment 1.

   50.      As described above, the Masten Report assumes that the sale of the securities to harvest the
            losses should have taken place on December 3, 2018. To establish December 3, 2018 as
            the “likely business date that the sale of assets in the portfolios with losses should have
            taken place,” Ms. Masten makes numerous assumptions.32 First, she describes that “In his
            deposition, Mr. Fleck stated that in late November or early December of 2018 that he met
            with…FWTB, discussing…Mr. Fleck’s continued desire for FWTB to harvest the short-
            term losses in the Trust Accounts…”33 Ms. Masten acknowledges that Mr. Fleck does not
            recall the specific date of the meeting, but Ms. Masten claims that her review of the
            account statements in conjunction with Mr. Fleck’s recollection of the amount of losses
            makes it “apparent that he was looking at the October 2018 portfolio statements of the
            Trust Accounts.”34 Ms. Masten further concludes that the meeting “was likely the last
            week of November 2018” given that “reasonably speaking, Mr. Fleck received these
            statements in the first few weeks of November” and “Thanksgiving fell on November 22nd
            in 2018, the third, full week of the month.”35




   32
        Masten Report, p. 11.
   33
        Masten Report, p. 11. FWTB does not have any record of a meeting with Mr. Fleck regarding the Trusts in late
        November 2018 or early December 2018. FWTB’s records indicate that a regular quarterly meeting with Mr.
        Fleck took place on November 6, 2018. See FWTB_0007733.
   34
        Masten Report, p. 11.
   35
        Masten Report, p. 11.



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   51.      Based on the above assumptions and chronology, Ms. Masten’s critical assumption that the
            alleged instructions were conveyed by Mr. Fleck to FWTB in the last week of November
            2018 and that FWTB should have harvested the losses on exactly December 3, 2018 is
            highly speculative. In Plaintiffs’ Complaint dated February 19, 2021, Plaintiffs allege that
            “on December 2, 2018, Aaron Fleck realized there were major losses in both Trust
            portfolios in excess of $500,000. At that time, Aaron Fleck instructed FWTB to harvest the
            losses…”36 Further, as described in the Masten Report, Mr. Fleck stated, “the first time I
            noticed tax losses was in late November or December” and when referring to the alleged
            meeting in which he claims to have told FWTB to harvest tax losses he states “I think it
            was late November or the first week in December. I can’t give you the exact date.”37

   52.      The Masten Report’s scenario is inconsistent with the amount of losses described by Mr.
            Fleck and included in Plaintiffs’ allegations. Mr. Fleck stated that to his best recollection
            the accounts had $575,000 in additional losses when he instructed FWTB to harvest the
            losses.38 The Masten Report’s scenario contemplates harvesting $128,284 in losses rather
            than the $575,000 in losses which Mr. Fleck recalls were in the Trust accounts when he
            instructed FWTB to harvest the losses, or the major losses in excess of $500,000 described
            in the Complaint.39 The Masten Report states “upon review of the monthly statements, it is
            apparent that [Mr. Fleck] was looking at the October 2018 portfolio statements of the Trust
            Accounts, given the ranges of losses he described in his deposition.”40 However, the
            October 2018 statements for the Trusts indicates a combined loss for the securities in a loss
            position of only $302,585, much less than the $575,000 in additional losses described by
            Mr. Fleck.41 The only point from October through December at which the Trusts had close
            to $575,000 of losses potentially available for harvesting was in late December 2018, not in




   36
        Plaintiffs’ First Amended Complaint, dated May 14, 2021, p. 7.
   37
        March 1, 2022 Deposition of Aaron H. Fleck, p. 82.
   38
        March 1, 2022 Deposition of Aaron H. Fleck, p. 85. Mr. Fleck’s accountant, Brittany Dreher, CPA, also
        calculated the cost of not harvesting “roughly $585,000 of losses in 2018.” See FWTB_0002382.
   39
        Masten Report, Schedule 1.
   40
        Masten Report, p. 11.
   41
        See FWTB_0000346 and FWTB_0000155. I have summed all unrealized losses for securities in a loss position.
        $136,457 + $166,128 = $302,585.



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            October 2018 or on December 3, 2018 – the date at which the Masten Report’s scenario
            says FWTB should have harvested the losses.

   53.      In my Initial Report, I performed an analysis had FWTB harvested the Trust accounts’
            losses as of December 31, 2018 and remained in cash for 30 days before repurchasing the
            same securities. I calculated that as of December 31, 2018 FWTB could have harvested
            $462,143 in losses from the Trust accounts, much closer to the $575,000 in additional
            losses described by Mr. Fleck.42 While the amount of losses to be harvested would have
            been greater, I calculated that selling the securities at a loss position as of December 31,
            2018 and remaining in cash for 30 days (Ms. Masten’s scenario) would have resulted in the
            Trusts losing out on $316,000 in market appreciation the securities actually achieved in
            January 2019.43

   54.      Even though the date on which Mr. Fleck allegedly instructed FWTB to harvest losses took
            place is unclear, the Masten Report only calculates the lost equity value in the accounts as
            if the securities had been sold on December 3, 2018.44 Had the losses been harvested on
            any other day in December 2018, the impact to the equity value of the Flecks’ accounts
            would have been significantly lower, even if one assumes that the proceeds would have
            been maintained in cash equivalents for the full 30 days.

   55.      To illustrate the impact of harvesting the losses on other dates in December 2018, I have
            recreated Ms. Masten’s analysis of lost equity value as of May 13, 2019. I have updated
            the analysis to measure the impact of tax loss harvesting on the Flecks’ Trust’s equity value
            assuming the same securities identified by Ms. Masten would have been harvested on a
            different date in December. Ms. Masten estimated a lost equity value as of May 13, 2019
            of $122,781.95.45 However, had FWTB harvested these same securities on December 4,
            2018, just one day later, the lost equity value of the Flecks’ accounts would only be


   42
        Initial Report, Attachment 1.
   43
        Initial Report, p. 10 and Attachment 1.
   44
        In my Initial Report, I performed an analysis of the change in equity value in the accounts which would have
         occurred in a scenario in which the Flecks’ unrealized losses of $462,000 were harvested as of December 31,
         2018 and remained out of the market for 30 days to avoid wash sale rules. The securities at a loss position as of
         December 31, 2018 had appreciated a combined $316,000 by January 31, 2019. See my Initial Report, Opinion
         2.
   45
        Masten Report, Schedule 4.



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            $73,907.46 Had FWTB harvested the losses on the same securities on December 10, 2018,
            just one week later, there would be no lost equity value damages, since the Flecks’
            portfolio value would have benefitted by $5,889 from FWTB’s alleged failure to tax loss
            harvest in December 2018.47 See Attachment 3.

   56.      In fact, of the 19 total trading days in December 2018, only six days produce a scenario in
            which harvesting the losses on that day would result in any lost equity value damages to the
            Flecks. For 13 of the 19 trading days in December 2018, harvesting the losses related to
            the securities identified by Ms. Masten would have harmed the Flecks as the equity value
            in the Trusts would have been lower than it actually was without the loss harvesting. See
            Attachment 5.

   57.      The Masten Report’s narrowly defined scenario does not allow for the fact that if Mr. Fleck
            did in fact instruct FWTB to harvest losses, the more likely scenario is that the proceeds
            would have been used to acquire alternative equity investments to maintain the Trusts’
            target allocation in accordance with the IPS. Furthermore, Ms. Masten does not consider
            that the harvesting of the losses may have occurred on a date other than December 3, 2018.
            While the Masten Report does not indicate that its sole scenario is based on the benefit of
            hindsight, it is worth noting that the Masten Report’s scenario, if anchored to any other
            trading date in December 2018, would have yielded a lesser amount of equity loss
            damages, with most days resulting in zero lost equity damages. See Attachment 5.

   Opinion 3) The Masten Report’s alleged portfolio “underperformance” damages are
              based on unreasonable and inappropriate benchmark returns. The Flecks’
              portfolio outperformed appropriate market benchmarks under FWTB
              management.
   58.      As described above, the Masten Report calculates damages related to the alleged
            underperformance of the Flecks’ Trust accounts during the approximate one-year period
            during which the Trusts were managed by FWTB.




   46
        Attachment 5.
   47
        In addition to the lost equity value decreasing, the capital loss harvested by the Flecks would increase. See
         Attachment 2. However, as I discuss later in this report, the Flecks’ tax savings resulting from the harvested
         losses is limited to a maximum of the total tax liability paid in years in which the harvested loss could be carried
         forward.



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   59.      The Masten Report calculates that the Trusts’ performance from May 2018 to May 2019 was
            3.660% before fees and 2.972% after paying fees.48 Ms. Masten calculates this return by
            comparing the equity value of the assets transferred to another investment manager on May
            13, 2019 and the value of any wire and check disbursements from the accounts to the $8
            million which was originally deposited in the FWTB accounts by the Flecks.49 Ms. Masten
            assumes an investment period of one year.

   60.      To measure damages related to the alleged shortfall in portfolio performance, Ms. Masten
            calculates the value that the Flecks would have had after one year had the Trusts earned return
            based on two benchmarks: 1) the S&P 500 and 2) the target return laid out by the IPS.
            Neither of the Masten Report’s benchmarks for portfolio return is appropriate to measure the
            return in a “but-for” scenario in which FWTB properly managed the portfolio from May 2018
            to May 2019.

   61.      Ms. Masten’s first benchmark, the S&P 500, measures the return of only equities – and
            specifically 500 of the largest capitalization companies traded in U.S. markets. As described
            by Ms. Masten, the IPS establishes a target allocation which includes 46% equities, emerging
            markets, and alternatives; 53% fixed income; and 1% cash and equivalents.50 Additionally,
            the IPS includes a minimum holding percentage of 39% for fixed income.51 Therefore, a
            100% equity portfolio would clearly be in violation of the IPS signed by FWTB and the
            Flecks and is therefore an inappropriate benchmark to assess the Trusts’ “should have been”
            returns. An appropriate analysis of the returns in the portfolio should consider benchmarks
            which mirror the allocation of assets in the Flecks’ portfolio allowed under the IPS. Using a
            benchmark which aligns with approximately half of the assets within the portfolio produces an
            arbitrary and unrealistic analysis of expected portfolio performance.

   62.      The Masten Report’s second benchmark for the “should have been” portfolio performance is
            the 6.48% target return estimated in the IPS, which the IPS describes as a “10-year expected
            annual return of your portfolio.”52

   48
        Masten Report, Schedule 5.
   49
        Masten Report, Schedule 5.
   50
        Masten Report, p. 18.
   51
        Investment Policy Statement, p. 5.
   52
        Investment Policy Statement, p. 6.



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   63.      Ms. Masten’s reliance on the 6.48% as a benchmark for the portfolio return analysis is flawed.
            The Masten Report applies a 10-year average return metric to an approximate one-year period
            in which the Flecks’ portfolio was managed by FWTB. Investment markets, particularly
            equity markets, may rise or fall in any given period, but on average earn positive returns over
            longer time periods, which described in the IPS. For example, the IPS states that “Your actual
            experience may vary widely from this single-point potential return” and provides a table
            showing that, over a one year period, the 95th percentile return could be 20.4% and the 5th
            percentile return could be negative 5.7%.53 When describing the target return percentages, the
            IPS states “actual performance will vary from these assumed rates and there is no guarantee
            that this return objective will be achieved either in any single year or over longer time
            periods.”54

   64.      Using either the all equity S&P 500 or the 10-year average “target” return metric to analyze
            the performance of the Flecks’ Trusts over a single year – as Ms. Masten does – is flawed and
            unreasonable, and it is inconsistent with the asset allocations and other language set forth in
            the IPS.

   65.      In my Initial Report, I analyzed the Flecks’ Trusts financial performance under FWTB’s
            management from May 2018 to May 2019. For my analysis, I considered the target asset
            allocation set forth in the IPS and the performance of the relevant markets during the time
            period the Flecks’ portfolio was managed by FWTB. Since the Masten Report includes
            alleged “underperformance” as damages, I am including a similar analysis in this rebuttal
            report, as described below.

   66.      To determine whether the Flecks’ Trusts underperformed the market – regardless of the
            reason – I compare the Trusts’ actual returns to the returns from appropriate benchmark
            indices, weighted based on the “target” allocations set forth in the IPS. For example, I used
            the S&P 500 Total Return Index for the 13% “target” allocation to US Large Cap Equities,
            and I used the S&P International 700 Total Return Index for the 12% “target” allocation to
            International Equities. I used the S&P U.S. Aggregate Bond Total Return Index for the 49%
            “target” allocation to Fixed Income. For the alternative asset class, I reviewed the IPS to


   53
        Investment Policy Statement, p. 6.
   54
        Investment Policy Statement, p. 5. [emphasis added]



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            determine which indices to select for the alternative asset category. I then calculated a
            combined annualized return for the alternative asset class by equally weighting the investment
            types making up the class.55 The following table, which is included with additional details as
            Attachment 6, shows my calculation of the Trusts’ expected annualized return for the period.

                                   Expected Portfolio Return Based on Market Indices
                                                                                      Weighted Index
                                 Asset Class      Target Allocation Index Return          Return

                         US Large Cap Equities          13%                  9.76%        1.27%
                         US Mid Cap Equities            4%                   3.07%        0.12%
                         US Small Cap Equities          6%                  -0.14%        -0.01%
                         International Equities         12%                 -2.97%        -0.36%
                         Emerging Markets               3%                  -2.31%        -0.07%
                         High Yield Bonds               4%                   7.00%        0.28%
                         Fixed Income                   49%                  5.40%        2.65%
                         Alternatives                   8%                   2.71%        0.22%
                         Cash and Equivalents           1%                   2.26%        0.02%
                                                      Expected Annualized Return          4.12%
                        Sources: Attachments 6 & 8

   67.      After calculating the expected annualized return based on the IPS allocations and market
            indices, I then calculated the actual annualized return in the Flecks’ Trusts to determine
            whether the accounts underperformed the market, as claimed by Ms. Masten, over the same
            period. To calculate the Trusts’ actual returns, I compared the ending value of the Trusts on
            May 6, 2019 and any fees paid by the Flecks on the date which they were paid to the $8
            million beginning value of the trusts on May 23, 2018. My analysis indicates that the Flecks’
            Trusts combined for a 4.44% annualized return (before fees), overperforming the annualized
            market return of the “target allocation” by 0.31%, as shown in the table below and on
            Attachment 7.

                            Actual Portfolio Return Compared to Expected Return
                                                       Aaron Fleck        Barbara Fleck
                                                          Trust               Trust            Combined

          Actual Annualized Return                                5.33%               3.55%            4.44%
          Expected Annualized Return                              4.12%               4.12%            4.12%
          Overperformance (Underperformance)                      1.20%              -0.57%            0.31%
          Source: Attachment 7


   55
        Attachment 8.



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   68.      The positive overall return and the very similar market performance experienced by both
            Fleck Trusts while under FWTB’s management contradict Ms. Masten’s claim that the Trust
            accounts performed “lower than the overall market returns during the investment period.”56
            While the Trusts’ performance overall was less than the return on a portfolio of 100% equities
            and less than the projected average 10-year return set forth in the IPS, the Trusts’ performance
            was in line – and even a bit better than – the weighted returns for the various asset classes and
            allocations set forth in the IPS. The Trusts’ performance was also within the performance
            range set forth in the IPS for periods of one year, three years, five years, ten years and twenty
            years.57 The Trusts’ performance relative to market-based benchmarks during the FWTB
            management period does not support Ms. Masten’s contention that the Flecks suffered
            damages from alleged underperformance of the Trusts’ investments.

   Opinion 4) The Masten Report’s alleged tax loss shield damages are overstated and ignore
              both the taxable capital gains the Flecks would have incurred in Ms. Masten’s
              but-for scenario and the Flecks’ minimal tax liabilities.
   69.      As described above, Ms. Masten performs an estimate of the potential tax shield lost by the
            Flecks due to FWTB’s alleged failure to harvest tax losses on December 3, 2018. Ms. Masten
            states that “the estimated forgone tax shield of $36,471 represents the potential reduction of
            the Plaintiff’s income taxes had FWTB followed the Plaintiffs’ instructions to harvest tax
            losses in 2018” and that “the tax shield could have been carried forward to subsequent years to
            offset the tax liability on future gains.”58

   70.      In my Initial Report, I described how and why the tax consequences of harvesting losses is
            much more complicated than the simplistic analysis provided in the Masten Report. Among
            other things I described how, when losses are harvested and proceeds are used (either
            immediately or at some future point) to repurchase identical or replacement investments at
            lower prices than the harvested investments’ original basis, there are future higher taxes – due
            to lower replacement cost basis – that would offset, often completely, any short-term benefit
            from tax loss harvesting. I also described that, generally, any benefit from tax loss harvesting




   56
        Masten Report, p. 17.
   57
        Investment Policy Statement, p. 6.
   58
        Masten Report, p. 13 [emphasis added].



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         is just the time value of money on tax payments in different years and not a different total tax
         amount.

   71.   My Initial Report’s discussion of these issues used hypothetical examples, since Mr.
         Rulison’s “damages” report did not provide any specific scenario, calculations, or damages
         totals. However, now that Plaintiffs have submitted the Masten Report, many of the
         concepts and principles I described in my Initial Report (which I incorporate in this rebuttal
         report by reference) illustrate flaws in Ms. Masten’s methodology and calculations.

   72.   By singling out only the “potential” tax benefit Ms. Masten calculates the Flecks would have
         received if certain securities had been sold at a loss in December 2018 and then repurchased at
         lower prices (after a market decline) in early January 2019, the Masten report ignores several
         other tax considerations which, if considered, completely negate any potential tax benefit to
         the Flecks.

   73.   For example, as described earlier in this report, Ms. Masten assumes that the harvest
         transactions’ proceeds would have been held in cash for 30 days, then used to purchase the
         exact same securities at lower prices on January 3, 2019. In that scenario, the Flecks would
         have had a lower tax basis in the securities than they actually had. When the portfolio was
         “realigned” on or about February 6, 2019 and many of the securities were sold and reinvested
         in pooled equity funds, the lower tax basis that would have existed in Ms. Masten’s “but for”
         scenario would have resulted in taxable, short-term capital gains that would have increased the
         Flecks’ 2019 tax liability that Ms. Masten did not consider in her damages analysis.




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                   Summary of Masten Scenario Realized Capital Gains for AFT & BFT
                                                                                 Masten Scenario
                                          Funds Reinvested     Proceeds from     Realized Capital
                          Asset               on 1/3/2019     Sale on 2/6/2019         Gain

                Anheuser Busch            $          18,371   $         21,732    $          3,362
                BlackRock                            18,207             19,854               1,647
                Celgene                              21,398             22,137                 739
                eBay                                 18,144             22,681               4,536
                Halliburton                           7,384              8,687               1,303
                Home Depot                           22,308             24,194               1,886
                Estee Lauder                         22,603             26,587               3,983
                Raytheon                              9,486             10,822               1,337
                S&P Global                           10,405             12,050               1,644
                Schlumberger                         17,429             20,950               3,522
                Charles Schwab                       18,192             20,395               2,203
                Texas Instruments                    20,812             24,487               3,675
                Maingate MLP Fund                    73,876             81,196               7,320
                PIMCO Comm Real Ret                 153,715            162,773               9,058
                Total                     $         432,329   $        478,544    $         46,215
               Sources: Attachment 10


   74.      For example, as shown in the table above, had the Aaron Fleck Trust sold its 120 shares of
            Anheuser Busch on December 3, 2018, the Masten Report calculates it would have received
            $9,169 in proceeds, and after earning $16.80 in interest for the 30-day period before
            repurchasing shares, the Trust would have had $9,185 to reinvest in Anheuser Busch shares
            on January 3, 2019.59 The Masten Report contemplates this amount would have been used to
            purchase 138.5 shares of Anheuser Busch, making the basis of these new shares $9,185.
            When these same 138.5 shares would have been sold on February 6, 2019, the Masten Report
            calculates the Aaron Fleck Trust would have received $78.49 per share, resulting in
            approximately $10,866 of proceeds.60 The $10,866 in proceeds received on February 6, 2019
            minus the $9,185 cost basis of these shares results in a $1,681 realized short-term capital gain
            on which the Flecks would have owed taxes in 2019. For all securities the Masten Report
            suggests the Trusts would have repurchased, this short-term capital gain, would have been
            $46,215, and the tax impact would have been $13,139 assuming the same marginal tax rate



   59
        Masten Report, Schedule 3.
   60
        Masten Report, Schedule 3.



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            used in Ms. Masten’s analysis. See Attachment 10 for additional details for the calculation
            summarized in the table above.

   75.      Furthermore, Ms. Masten fails to consider that, when the securities were actually sold on or
            about February 6, 2019 as part of the realignment, the Flecks then realized many of the same
            losses she claims they should have realized in December 2018. For example, the Aaron Fleck
            Trust realized $4,150 in losses upon the sale of the same 190 Schlumberger shares the Masten
            Report claims FWTB should have sold to harvest losses on December 3, 2019. If those
            securities had instead been sold in December 2018 (and not in February 2019), that loss would
            not have existed. See a summary of the actual losses taken in both Trusts below.

                           Summary of Actual Capital Gains (Losses) Taken in the Trusts
                              Asset                   Cost Basis           Proceeds         Capital Gain (Loss)

                   Anheuser Busch                 $         22,104     $         18,835     $              (3,269)
                   BlackRock                                21,888               17,474                    (4,414)
                   Celgene                                  22,504               25,505                     3,001
                   eBay                                     22,536               21,361                    (1,175)
                   Halliburton                              11,309                7,310                    (3,999)
                   Home Depot                               22,579               22,525                       (54)
                   Estee Lauder                             22,803               22,839                        37
                   Raytheon                                 11,255                9,447                    (1,808)
                   S&P Global                               11,028               10,817                      (211)
                   Schlumberger                             25,412               17,111                    (8,300)
                   Charles Schwab                           21,886               18,312                    (3,574)
                   Texas Instruments                        22,580               21,689                      (891)
                   Maingate MLP Fund                        83,050               66,466                   (16,584)
                   PIMCO Comm Real Ret                     182,174              155,097                   (27,077)
                   Total                          $        503,106     $        434,787     $             (68,319)
                   Sources: Attachment 11


   76.      As shown in the table above, I calculate that the forfeiture of the actual 2019 tax loss would
            have been $68,319, the tax effected amount of which ($19,423, assuming the same marginal
            tax rate used by Ms. Masten) should be an offset/reduction to Ms. Masten’s alleged “tax loss
            shield” damages.61 See Attachment 11.



   61
        I understand there may be a small impact related to the time value of money of harvesting a loss in 2018 vs, 2019.
         Based on my review of the Flecks’ 2018 tax return, their 2018 tax liability was minimal and thus and impact of
         harvesting the losses in 2018 vs. 2019 would be de minimis.



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   77.      Combined, these two tax consequences of Ms. Masten’s own scenario – which she fails to
            consider, or even mention – reduce any potential tax benefit of harvesting additional losses in
            2018 by $32,562.62

   78.      In addition to the above tax consequences, there would have been additional tax implications
            to Ms. Masten’s scenario for the securities that were NOT sold as part of the February 6, 2019
            realignment and the additional securities which would have been purchased during the
            February 6, 2019 realignment. As shown on Attachment 12 and Attachment 13, I calculate
            the additional unrealized gain to be $87,520 as of May 8, 2019 and the unrealized tax impact
            to be $24,882. Plaintiffs have not provided or produced any information for their investments
            after the Trusts were moved from FWTB in May 2019. However, assuming those additional
            gains were at some point realized, there would be a further reduction from Ms. Masten’s
            claimed tax loss shield.

   79.      In total, these tax consequences, when properly considered, show that Flecks would have
            received zero net tax benefit from harvesting additional losses in December 2018 under the
            scenario set forth in the Masten Report’s damages calculations. In fact, the Flecks would have
            incurred additional tax liability under the Masten Report’s scenario.

                 Additional Tax Consequences Introduced by the Masten Report Scenario

                   Tax Impact of Realized Capital Gain as of February 6, 2019              $          (13,139)
                   Forfeiture of Actual Tax Savings Resulting from Sales                              (19,423)
                   Tax Impact of Unrealized Capital Gain as of May 8, 2019                            (24,882)
                   Masten Report Tax Shield                                                            36,471
                  Net Tax Benefit (Loss) to the Flecks                                     $          (20,973)
                  Sources: Attachments 10 - 13; Masten Report, Schedule 2

   80.      The Masten Report also fails to consider the Flecks’ actual tax liability to assess whether the
            tax shield could actually have been utilized. Ms. Masten describes her claimed tax loss shield
            damages as a potential tax shield using the marginal tax rates provided by the Flecks’ tax
            preparer, but the Masten Report does not describe any analysis of the Flecks 2018 and 2019

   62
        In addition to the larger tax impacts regarding capital gains and losses, the Masten Report fails to consider the tax
         implications of the interest which the Masten Report claims would have been earned on the harvest proceeds from
         December 3, 2018 to January 3, 2018 and the interim dividends the Masten Report claims would have been paid
         on the additional fund shares in April 2019.



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            tax returns to determine what the potential tax shield would have actually yielded in tax
            savings to the Flecks.63

   81.      For example, according to a “tax transcript” from the IRS for the year ending December
            31, 2018, the Flecks reported total income of $270,367, a net capital gain of $31,314,
            taxable income of $50,173, and a total tax figure of only $774. According to the tax
            transcript, the Flecks received a 2018 refund for $10,232 of the $11,006 payments they had
            made.64 Even if FWTB had harvested the $128,284 in unrealized losses in the Flecks’
            Trusts as calculated by Ms. Masten as of December 3, 2018,65 such an action would have
            had a negligible impact on the Flecks’ 2018 tax liability. In 2018, $34,314 of the harvested
            loss would have been used to fully offset the Flecks’ capital gains and report a capital loss
            of $3,000, the maximum capital loss the IRS allows taxpayers to deduct each year.66 At
            most, harvesting the capital losses would have saved the Flecks the total $774 in federal
            taxes they paid in 2018. The majority of the loss, had it been harvested in December 2018,
            would have been carried over to 2019 or future years. The loss that would have been
            carried to 2019 would have been partially offset by the capital gain described above which
            Ms. Masten failed to consider. The benefit of any remaining loss that is carried forward
            would be offset by the inability for the Flecks to harvest the losses they actually did in
            2019 and the tax impact of the unrealized loss, as described above.

   Opinion 5) Overall, Plaintiffs have not suffered any damages resulting from FWTB’s
              alleged misconduct.
   82.      In conclusion and as described throughout this rebuttal report, the Masten Report’s calculation
            of the Flecks’ potential damages is flawed and is not a reasonable estimate of the Fleck’s
            potential damages.

   83.      Ms. Masten improperly adds together calculations which measure the same thing, resulting in
            double-counted and/or overstated total damages.




   63
        In 2017, Mr. Fleck reported to FWTB that he had not paid taxes in fifteen years as he had a net operating loss
         carryforward of $3 million to $4 million. See FWTB_0005160.
   64
        FLECK_007522 to 007537.
   65
        Masten Report, p. 13.
   66
        IRS Topic No. 409, Capital Gains and Losses, retrieved from https://www.irs.gov/taxtopics/tc409.



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   84.   Furthermore, the Masten Report’s analysis of the lost equity value of the Flecks’ accounts is
         based on a narrow, unsupported scenario which unreasonably assumes: (a) the harvesting of
         securities would have occurred on December 3, 2018 as opposed to any other date in
         December; (b) the proceeds from sale of the securities would have been held in cash for 30
         days instead of being reinvested in alternative securities; and (c) repurchase of the same
         securities on January 3, 2019. Any scenario, other than the one contemplated by the Masten
         Report, would have dramatically different (and often zero) potential equity loss damages,
         whether the losses were harvested at a later date in December or the proceeds from the
         “harvest” sales were reinvested in “replacement” securities during the month of December.

   85.   The Masten Report’s analysis of “should have been” portfolio performance and thus alleged
         underperformance damages is flawed as it compares the actual performance in the Flecks’
         Trusts to unreasonable and inappropriate benchmarks. A reasonable analysis of the Trusts’
         performance compared to market returns for asset class “targets” set forth in the IPS shows the
         Flecks were not damaged by any alleged portfolio underperformance during the period under
         FWTB management.

   86.   The Masten Report also presents an overly simplified and one-sided calculation of the
         potential benefit to the Plaintiffs of additional tax loss harvesting in December 2018. Ms.
         Masten fails to consider the full tax implications of her assumed scenario, would have resulted
         in additional tax liabilities/payments for the Flecks, which would have more than offset any
         potential benefit the Flecks could have potentially received from harvesting additional losses
         in December 2018. Ms. Masten also fails to analyze the Flecks’ actual tax liability in 2018
         and 2019 to consider whether any tax shield estimated by Ms. Masten could have actually
         been utilized to offset or reduce the Flecks’ tax liability.




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                                                                                                            Fleck Revocable Trusts - Lost Equity Value as of May 13, 2019                                                                                                                                Attachment 1




Harvest Date         12/3/2018
Return of The S&P
500                  -12.11%
Re-investment Date   1/3/2019
                                                                                                                                                  Value Effect From Loss Harvest as of February 6, 2019
                                                                                                                                                                                                                                                                                                  Increase
                                                                                                                   Increase (Decrease)                                               Share Price as of                            Increase            Increase                                  (Decrease) in
                                                        Shares as of    Share Price as of Market Value as in asset value as of               Forgone                Available for        Re-investment       Estimated Shares   (Decrease) in       (Decrease) in     Share Price as of         Value as of
        Trust                    Asset                   12/3/2018          Harvest Date       of Harvest Date          1/2/2019             Dividends              Reinvestment             Date             Repurchased          Shares              Value              2/6/2019                2/6/2019
                                                            [1]                 [2]                                        [3]                  [4]                                           [2]                                                                            [2]
        AFT          Anheuser Busch                            120.00   $              76.40       $      9,169    $         (1,109.99)                         $            8,059   $               66.34            121.47              1.47 $                98 $                78.60   $              116
        AFT          BlackRock                                  21.00                 435.83              9,152              (1,108.04) $             (65.73)                7,979                  381.51             20.91             (0.09)                (33)                417.42                  (36)
        AFT          Celgene[9]                                145.00                  73.65             10,679              (1,292.88)                                      9,386                   84.15            111.55            (33.45)             (2,815)                 87.92               (2,941)
        AFT          eBay                                      300.00                  30.19              9,056              (1,096.30)                                      7,959                   28.47            279.52            (20.48)               (583)                 35.30                 (723)
        AFT          Halliburton                               114.00                  32.50              3,706                (448.61)               (20.52)                3,236                   27.24            118.79              4.79                 131                  32.11                  154
        AFT          Home Depot                                 61.00                 182.51             11,133              (1,347.86)                                      9,786                  170.22             57.49             (3.51)               (598)                185.71                 (653)
        AFT          Estee Lauder                               76.00                 148.43             11,281              (1,365.74)                                      9,915                  127.74             77.62              1.62                 207                 150.03                  243
        AFT          Raytheon[9][8]                             27.00                 175.44              4,737                (573.47)                                      4,163                  151.45             27.49              0.49                  74                 175.33                   86
        AFT          S&P Global                                 28.00                 185.47              5,193                (628.71)                                      4,564                  166.83             27.36             (0.64)               (107)                193.83                 (124)
        AFT          Schlumberger                              190.00                  46.29              8,795              (1,064.78)               (95.00)                7,635                   37.45            203.85             13.85                 519                  45.02                  624
        AFT          Schwab                                    199.00                  45.63              9,079              (1,099.19)                                      7,980                   41.03            194.47             (4.53)               (186)                 46.22                 (209)
        AFT          Texas Instruments                         102.00                 101.83             10,387              (1,257.52)                                      9,130                   90.35            101.04             (0.96)                (87)                105.37                 (101)
        AFT          Lazard Int Strategic EQ[10]            13,272.98                  14.97            198,697            (24,055.13)           (2,689.64)                171,952                   12.66         13,582.29            309.31               3,916                  13.94                4,312
        AFT          Maingate MLP Fund[11]                   9,964.91                   7.60             75,733              (9,168.63)                                     66,565                    6.74          9,876.07            (88.84)               (599)                  7.41                 (658)
        AFT          PIMCO Comm Real Ret[6][11]             12,719.43                   5.95             75,681              (9,162.25)          (1,205.80)                 65,313                    5.50         11,875.01           (844.42)             (4,644)                  5.81               (4,906)
        AFT          Vanguard FTSE DEV MKT[10][11]           4,840.00                  40.32            195,149            (23,625.62)           (1,857.11)                169,666                   36.84          4,605.49           (234.51)             (8,640)                 40.12               (9,409)
        AFT          Parnassus Core Equity INST
        AFT          Touchstone Sands Capital INST
     AFT Total                                                                                 $        647,627    $          (78,405) $              (5,934) $            563,288                                                              $          (13,346)                         $          (14,226)

        BFT          Anheuser Busch                            120.00   $              76.40   $          9,169    $        (1,109.99)                          $            8,059   $               66.34            121.47              1.47 $                98 $                78.60   $              116
        BFT          BlackRock                                  21.00                 435.83              9,152             (1,108.04) $              (65.73)                7,979                  381.51             20.91             (0.09)                (33)                417.42                  (36)
        BFT          Celgene[9]                                145.00                  73.65             10,679             (1,292.88)                                       9,386                   84.15            111.55            (33.45)             (2,815)                 87.92               (2,941)
        BFT          eBay                                      300.00                  30.19              9,056             (1,096.30)                                       7,959                   28.47            279.52            (20.48)               (583)                 35.30                 (723)
        BFT          Halliburton                               114.00                  32.50              3,706               (448.61)                (20.52)                3,236                   27.24            118.79              4.79                 131                  32.11                  154
        BFT          Home Depot                                 61.00                 182.51             11,133             (1,347.86)                                       9,786                  170.22             57.49             (3.51)               (598)                185.71                 (653)
        BFT          Estee Lauder                               76.00                 148.43             11,281             (1,365.74)                                       9,915                  127.74             77.62              1.62                 207                 150.03                  243
        BFT          Raytheon[9][8]                             27.00                 175.44              4,737               (573.47)                                       4,163                  151.45             27.49              0.49                  74                 175.33                   86
        BFT          S&P Global                                 28.00                 185.47              5,193               (628.71)                                       4,564                  166.83             27.36             (0.64)               (107)                193.83                 (124)
        BFT          Schlumberger                              190.00                  46.29              8,795             (1,064.78)                (95.00)                7,635                   37.45            203.85             13.85                 519                  45.02                  624
        BFT          Schwab                                    199.00                  45.63              9,079             (1,099.19)                                       7,980                   41.03            194.47             (4.53)               (186)                 46.22                 (209)
        BFT          Texas Instruments                         102.00                 101.83             10,387             (1,257.52)                                       9,130                   90.35            101.04             (0.96)                (87)                105.37                 (101)
        BFT          PIMCO Comm Real Ret[9][11]             13,001.28                   5.95             77,358             (9,365.27)           (1,232.52)                 66,760                    5.50         12,138.15           (863.13)             (4,747)                  5.81               (5,015)
        BFT          Vanguard FTSE DEV MKT[10]               7,669.00                  40.32            309,214            (37,434.89)           (2,942.60)                268,837                   36.84          7,297.41           (371.59)            (13,689)                 40.12              (14,908)
        BFT          Clearbridge Small Cap Growth
        BFT          Parnassus Core Equity INST
        BFT          Touchstone Sands Capital INST
     BFT Total                                                                                 $        488,939    $          (59,193) $              (4,356) $            425,390                                                              $          (21,816)                         $          (23,487)

      TOTAL                                                                                    $       1,136,566   $         (137,598) $           (10,290) $              988,678                                                              $          (35,163)                         $          (37,713)

                                                     Notes:
                                                      [1] Shares as of December 3, 2018 obtained from the November 2018 Trust account statements [FWTB_0000140 and FWTB_0000330].
                                                      [2] Per share prices obtained from Yahoo Finance unless otherwise stated. Calculated as the average of the open and close prices for the day.
                                                      [3] Return for the S&P 500 calculated as the price as of 1/3/2019 minus the price as of 12/3/2018 divided by the 12/3/2018 price. Prices obtained from https://www.spglobal.com/spdji/en/indices/equity/sp-500/#overview.
                                                      [4] I include forgone dividends for assets with a dividend which has a shareholder of record date between 12/3/2018 - 1/3/2019. See Attachment 4.
                                                      [5] See Masten Report, Schedules 4 and 4a for reallocation purchase amount percentages.
                                                      [6] Prices obtained from 2/1/19 - 2/28/19 Trust Account Statements [FWTB_0000226 and FWTB_0000041].
                                                      [7] See Masten Report, Schedule 4, Note 3. April dividends are based on Aaron and Barbara Fleck April 2019 Account Statements [FWTB_0000184 and FWTB_0000001].
                                                      Parnassus Core Equity INST dividend is $0.117 per share and Vanguard FTSE DEV MKT dividend is $0.175 per share.
                                                      [8] Per share purchase price as of May 8, 2019 obtained from Masten Report, Schedule 4.
                                                      [9] Per share prices for Celgene, Raytheon, and PIMCO Comm Real Ret obtained from Investing.com.
                                                      [10] Lazard INT Strategic EQ and Vanguard FTSE DEV MKT were held through the February 8, 2019 reallocation.
                                                      [11] Share prices for Raytheon, Maingate MLP, PIMCO Comm Real Ret, and Vanguard FTSE DEV MKT differ from the Masten Report. Share price for Maingate MLP and Vanguard FTSE DEV MKT obtained from Yahoo Finance.




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                                                                             Fleck Revocable Trusts - Lost Equity Value as of May 13, 2019                                                                                                           Attachment 1




Harvest Date         12/3/2018
Return of The S&P
500                  -12.11%
Re-investment Date   1/3/2019
                                                                                                           February 11, 2019 Reallocation
                                                           Increase                               Decrease in             Increase                                 Increase
                                                         (Decrease) in       Reallocation          2/11/2019            (Decrease) in                          (Decrease) in Unit                                                  Implied Lost
                                                     Proceeds From         Purchase Amount        Reallocation          Value as of       Per Unit Value as       Shares as of      Interim Dividends Share Price as of        Equity Value as
        Trust                    Asset                   2/8/2019 Sale           %                 Purchase              2/11/2019          of 2/11/2019           2/11/2019         Paid April 2019           5/8/2019            of 5/13/2019
                                                                                 [5]                                                             [6]                                       [7]                   [8]
        AFT          Anheuser Busch                  $              116
        AFT          BlackRock                                      (36)
        AFT          Celgene[9]                                  (2,941)
        AFT          eBay                                          (723)
        AFT          Halliburton                                    154
        AFT          Home Depot                                    (653)
        AFT          Estee Lauder                                   243
        AFT          Raytheon[9][8]                                  86
        AFT          S&P Global                                    (124)
        AFT          Schlumberger                                   624
        AFT          Schwab                                        (209)
        AFT          Texas Instruments                             (101)
        AFT          Lazard Int Strategic EQ[10]                                                                    $            4,312                                   309.31                            $           14.45               4,469
        AFT          Maingate MLP Fund[11]                         (658)
        AFT          PIMCO Comm Real Ret[6][11]                  (4,906)
        AFT          Vanguard FTSE DEV MKT[10][11]                                                                              (9,409)                                  (234.51) $              (41.04)               41.02               (9,661)
        AFT          Parnassus Core Equity INST                                          50% $            (4,564)               (4,564) $              42.03             (108.60)                (12.71)               45.18               (4,919)
        AFT          Touchstone Sands Capital INST                                       50%              (4,564)               (4,564)                21.82             (209.18)                                      24.09               (5,039)
     AFT Total                                       $           (9,129)                      $           (9,129) $            (14,226)                                                                                        $          (15,150)

        BFT          Anheuser Busch                  $              116
        BFT          BlackRock                                      (36)
        BFT          Celgene[9]                                  (2,941)
        BFT          eBay                                          (723)
        BFT          Halliburton                                    154
        BFT          Home Depot                                    (653)
        BFT          Estee Lauder                                   243
        BFT          Raytheon[9][8]                                  86
        BFT          S&P Global                                    (124)
        BFT          Schlumberger                                   624
        BFT          Schwab                                        (209)
        BFT          Texas Instruments                             (101)
        BFT          PIMCO Comm Real Ret[9][11]                  (5,015)
        BFT          Vanguard FTSE DEV MKT[10]                                                                      $          (14,908)                                  (371.59)                          $           41.02              (15,243)
        BFT          Clearbridge Small Cap Growth                                      12.50% $           (1,072)               (1,072) $              35.93              (29.85)                                      35.11               (1,048)
        BFT          Parnassus Core Equity INST                                        43.75%             (3,753)               (3,753)                42.03              (89.30)                                      45.18               (4,035)
        BFT          Touchstone Sands Capital INST                                     43.75%             (3,753)               (3,753)                21.82             (172.01)                                      24.09               (4,144)
     BFT Total                                       $           (8,579)                      $           (8,579) $            (23,487)                                                                                        $          (24,469)

      TOTAL                                          $          (17,708)                      $         (17,708) $             (37,713)                                                                                        $          (39,618)




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                                                         Fleck Revocable Trusts - Potential Tax Loss Harvest                                                                               Attachment 2


Harvest Date: 12/10/2018
                                                  Shares as of          Share Price as of          Market Value as of                                              Potential Tax-Loss
    Trust                    Asset                 12/3/2018             Harvest Date                Harvest Date       Average Unit Cost       Total Cost                 Harvest
                                                      [1]                      [2]                                                                 [1]
     AFT       Anheuser Busch                              120.00   $                  70.84   $                8,501   $           92.10   $        11,052        $             (2,551)
     AFT       BlackRock                                    21.00                     392.07                    8,233              521.15            10,944                      (2,711)
                       [3]
     AFT       Celgene                                     145.00                      69.34                   10,054               77.60            11,252                      (1,198)
     AFT       eBay                                        300.00                      29.07                    8,721               37.56            11,268                      (2,547)
     AFT       Halliburton                                 114.00                      29.21                    3,330               49.60             5,654                      (2,324)
     AFT       Home Depot                                   61.00                     172.54                   10,525              185.07            11,289                        (764)
     AFT       Estee Lauder                                 76.00                     137.23                   10,429              150.02            11,401                        (972)
     AFT       Raytheon[3][4]                               27.00                     169.86                    4,586              208.42             5,627                      (1,041)
     AFT       S&P Global                                   28.00                     169.11                    4,735              196.93             5,514                        (779)
     AFT       Schlumberger                                190.00                      41.88                    7,957               66.87            12,706                      (4,749)
     AFT       Schwab                                      199.00                      41.13                    8,184               54.99            10,943                      (2,759)
     AFT       Texas Instruments                           102.00                      93.12                    9,498              110.69            11,290                      (1,792)
     AFT       Lazard Int Strategic EQ                  13,272.98                      14.24                  189,007               15.85           210,376                     (21,369)
     AFT       Maingate MLP Fund[3]                      9,964.91                       7.15                   71,249                8.33            83,050                     (11,801)
                                       [3][4]
     AFT       PIMCO Comm Real Ret                      12,719.43                       5.92                   75,299                6.97            88,602                     (13,303)
                                            [4]
     AFT       Vanguard FTSE DEV MKT                     4,840.00                      38.23                  185,009               43.74           211,702                     (26,693)
  AFT Total                                                                                    $              615,319                       $       712,671        $            (97,352)
     BFT       Anheuser Busch                              120.00   $                  70.84   $                8,501   $           92.10   $        11,052        $             (2,551)
     BFT       BlackRock                                    21.00                     392.07                    8,233              521.15            10,944                      (2,711)
     BFT       Celgene[3]                                  145.00                      69.34                   10,054               77.60            11,252                      (1,198)
     BFT       eBay                                        300.00                      29.07                    8,721               37.56            11,268                      (2,547)
     BFT       Halliburton                                 114.00                      29.21                    3,330               49.60             5,654                      (2,324)
     BFT       Home Depot                                   61.00                     172.54                   10,525              185.07            11,289                        (764)
     BFT       Estee Lauder                                 76.00                     137.23                   10,429              150.02            11,401                        (972)
     BFT       Raytheon[3][4]                               27.00                     169.86                    4,586              208.42             5,627                      (1,041)
     BFT       S&P Global                                   28.00                     169.11                    4,735              196.93             5,514                        (779)
     BFT       Schlumberger                                190.00                      41.88                    7,957               66.87            12,706                      (4,749)
     BFT       Schwab                                      199.00                      41.13                    8,184               54.99            10,943                      (2,759)
     BFT       Texas Instruments                           102.00                      93.12                    9,498              110.69            11,290                      (1,792)
     BFT       PIMCO Comm Real Ret[3][4]                13,001.28                       5.92                   76,968                7.01            91,133                     (14,166)
     BFT       Vanguard FTSE DEV MKT                     7,669.00                      38.23                  293,148               44.72           342,932                     (49,784)
  BFT Total                                                                                    $              464,870                       $       553,006        $            (88,136)

   TOTAL                                                                                       $            1,080,189                       $      1,265,677       $           (185,489)
                                                                                                                                                             [5]
                                                                                                                                 Marginal Income Tax Rate                        28.43%
                                                                                                                                            Tax Lost Shield            $         52,734
Notes:
 [1] Shares and total cost as of December 3, 2018 obtained from the November 2018 Trust account statements [FWTB_0000140 and FWTB_0000330].
 [2] Share prices obtained from Yahoo Finance unless otherwise stated. Calculated as the average of the open and close prices for the day.
 [3] Share prices for Celgene, Raytheon, and PIMCO Comm Real Ret obtained from Investing.com.
 [4] Share prices for Raytheon, Maingate MLP, PIMCO Comm Real Ret, and Vanguard FTSE DEV MKT differ from the Masten Report. Share price for Maingate MLP and Vanguard
 FTSE DEV MKT obtained from Yahoo Finance.
 [5] See Masten Report, Schedule 2 for the Flecks' marginal tax rate.



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                                                                                                               Fleck Revocable Trusts - Lost Equity Value as of May 13, 2019                                                                                                                         Attachment 3



Harvest Date         12/10/2018
Re-investment Date   1/10/2019
                                                                                                                                                 Value Effect From Loss Harvest as of February 6, 2019
                                                                                                                                                                                                                                                                                                 Increase
                                                                                                                       Anticipated                                                 Share Price as of                            Increase            Increase                                   (Decrease) in
                                                        Shares as of    Share Price as of Market Value as          Interest Through          Forgone              Available for        Re-investment       Estimated Shares   (Decrease) in       (Decrease) in      Share Price as of          Value as of
        Trust                     Asset                  12/3/2018          Harvest Date       of Harvest Date          1/2/2019             Dividends            Reinvestment             Date             Repurchased          Shares              Value               2/6/2019                2/6/2019
                                                            [1]                 [2]                                                             [4]                                         [2]                                                                             [2]
        AFT          Anheuser Busch                            120.00   $              70.84       $      8,501    $           15.58                         $             8,516   $               70.25            121.23              1.23 $                86 $                 78.60   $               97
        AFT          BlackRock                                  21.00                 392.07              8,233                15.09                                       8,249                  399.31             20.66             (0.34)               (137)                 417.42                 (143)
        AFT          Celgene[9]                                145.00                  69.34             10,054                18.43                                      10,073                   86.88            115.95            (29.05)             (2,524)                  87.92               (2,554)
        AFT          eBay                                      300.00                  29.07              8,721                15.99                                       8,737                   30.35            287.87            (12.13)               (368)                  35.30                 (428)
        AFT          Halliburton                               114.00                  29.21              3,330                 6.10                                       3,336                   30.31            110.06             (3.94)               (119)                  32.11                 (126)
        AFT          Home Depot                                 61.00                 172.54             10,525                19.29                                      10,544                  178.54             59.06             (1.94)               (347)                 185.71                 (361)
        AFT          Estee Lauder                               76.00                 137.23             10,429                19.12                                      10,449                  123.93             84.31              8.31               1,030                  150.03                1,247
        AFT          Raytheon[9][8]                             27.00                 169.86              4,586                 8.41                                       4,594                  158.54             28.98              1.98                 314                  175.33                  347
        AFT          S&P Global                                 28.00                 169.11              4,735                 8.68                                       4,744                  175.28             27.06             (0.94)               (164)                 193.83                 (181)
        AFT          Schlumberger                              190.00                  41.88              7,957                14.59                                       7,972                   41.29            193.07              3.07                 127                   45.02                  138
        AFT          Schwab                                    199.00                  41.13              8,184                15.00                                       8,199                   43.59            188.09            (10.91)               (476)                  46.22                 (504)
        AFT          Texas Instruments                         102.00                  93.12              9,498                17.41                                       9,516                   96.74             98.36             (3.64)               (352)                 105.37                 (383)
        AFT          Lazard Int Strategic EQ[10]            13,272.98                  14.24            189,007               346.45            (2,689.64)               186,664                   13.39         13,940.56            667.58               8,939                   13.94                9,306
        AFT          Maingate MLP Fund[11]                   9,964.91                   7.15             71,249               130.60                                      71,380                    7.45          9,581.17           (383.74)             (2,859)                   7.41               (2,844)
        AFT          PIMCO Comm Real Ret[6][11]             12,719.43                   5.92             75,299               138.02            (1,205.80)                74,231                    5.67         13,091.93            372.50               2,112                    5.81                2,164
        AFT          Vanguard FTSE DEV MKT[10][11]           4,840.00                  38.23            185,009               339.12            (1,857.11)               183,491                   38.74          4,736.47           (103.53)             (4,011)                  40.12               (4,153)
        AFT          Parnassus Core Equity INST
        AFT          Touchstone Sands Capital INST
     AFT Total                                                                                 $        615,319    $            1,128    $            (5,753) $          610,694                                                              $              1,252                         $            1,621

        BFT          Anheuser Busch                            120.00   $              70.84   $          8,501    $           15.58                         $             8,516   $               70.25            121.23              1.23 $                86 $                 78.60   $               97
        BFT          BlackRock                                  21.00                 392.07              8,233                15.09                                       8,249                  399.31             20.66             (0.34)               (137)                 417.42                 (143)
        BFT          Celgene[9]                                145.00                  69.34             10,054                18.43                                      10,073                   86.88            115.95            (29.05)             (2,524)                  87.92               (2,554)
        BFT          eBay                                      300.00                  29.07              8,721                15.99                                       8,737                   30.35            287.87            (12.13)               (368)                  35.30                 (428)
        BFT          Halliburton                               114.00                  29.21              3,330                 6.10                                       3,336                   30.31            110.06             (3.94)               (119)                  32.11                 (126)
        BFT          Home Depot                                 61.00                 172.54             10,525                19.29                                      10,544                  178.54             59.06             (1.94)               (347)                 185.71                 (361)
        BFT          Estee Lauder                               76.00                 137.23             10,429                19.12                                      10,449                  123.93             84.31              8.31               1,030                  150.03                1,247
        BFT          Raytheon[9][8]                             27.00                 169.86              4,586                 8.41                                       4,594                  158.54             28.98              1.98                 314                  175.33                  347
        BFT          S&P Global                                 28.00                 169.11              4,735                 8.68                                       4,744                  175.28             27.06             (0.94)               (164)                 193.83                 (181)
        BFT          Schlumberger                              190.00                  41.88              7,957                14.59                                       7,972                   41.29            193.07              3.07                 127                   45.02                  138
        BFT          Schwab                                    199.00                  41.13              8,184                15.00                                       8,199                   43.59            188.09            (10.91)               (476)                  46.22                 (504)
        BFT          Texas Instruments                         102.00                  93.12              9,498                17.41                                       9,516                   96.74             98.36             (3.64)               (352)                 105.37                 (383)
        BFT          PIMCO Comm Real Ret[9][11]             13,001.28                   5.92             76,968               141.08            (1,232.52)                75,876                    5.67         13,382.03            380.76               2,159                    5.81                2,212
        BFT          Vanguard FTSE DEV MKT[10]               7,669.00                  38.23            293,148               537.34            (2,942.60)               290,742                   38.74          7,504.96           (164.04)             (6,355)                  40.12               (6,581)
        BFT          Clearbridge Small Cap Growth
        BFT          Parnassus Core Equity INST
        BFT          Touchstone Sands Capital INST
     BFT Total                                                                                 $        464,870    $               852   $            (4,175) $          461,547                                                              $           (7,126)                          $           (7,222)

      TOTAL                                                                                    $       1,080,189   $            1,980    $            (9,928) $        1,072,241                                                              $           (5,874)                          $           (5,601)


                                                     Notes:
                                                      [1] Shares as of December 3, 2018 obtained from Aaron and Barbara Fleck 11/1/18 - 11/30/18 Account Statements [FWTB_0000140 and FWTB_0000330].
                                                      [2] Per share prices obtained from Yahoo Finance unless otherwise stated. Calculated as the average of the open and close prices for the day.
                                                      [3] See Masten Report pg.14 for wash sale interest rate on cash equivalents at 0.18%.
                                                      [4] I include forgone dividends for assets with a dividend which has a shareholder of record date between 12/10/2018 - 1/10/2019. See Attachment 4 .
                                                      [5] See Masten Report, Schedules 4 and 4a for reallocation purchase amount percentages.
                                                      [6] Prices obtained from 2/1/19 - 2/28/19 Trust Account Statements [FWTB_0000226 and FWTB_0000041].
                                                      [7] See Masten Report, Schedule 4, Note 3. April dividends are based on Aaron and Barbara Fleck 4/1/19-4/30/19 Account Statements [FWTB_0000184 and FWTB_0000001]. Parnassus Core Equity INST dividend is $0.117 per share and
                                                      Vanguard FTSE DEV MKT dividend is $0.175 per share.
                                                      [8] Per share purchase price as of May 8, 2019 obtained from Masten Report, Schedule 4.
                                                      [9] Per share prices for Celgene, Raytheon, and PIMCO Comm Real Ret obtained from Investing.com.
                                                      [10] Lazard INT Strategic EQ and Vanguard FTSE DEV MKT were held through the February 8, 2019 reallocation.
                                                      [11] Share prices for Raytheon, Maingate MLP, PIMCO Comm Real Ret, and Vanguard FTSE DEV MKT differ from the Masten Report. Share price for Maingate MLP and Vanguard FTSE DEV MKT obtained from Yahoo Finance.



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                                                                                                                 Fleck Revocable Trusts - Lost Equity Value as of May 13, 2019                                                                       Attachment 3



Harvest Date         12/10/2018
Re-investment Date   1/10/2019
                                                                                                           February 11, 2019 Reallocation
                                                           Increase                               Decrease in             Increase                                 Increase
                                                         (Decrease) in       Reallocation          2/11/2019            (Decrease) in                          (Decrease) in Unit                                                  Implied Lost
                                                     Proceeds From         Purchase Amount        Reallocation           Value as of      Per Unit Value as       Shares as of      Interim Dividends Share Price as of        Equity Value as
        Trust                     Asset                  2/8/2019 Sale           %                 Purchase              2/11/2019          of 2/11/2019           2/11/2019         Paid April 2019           5/8/2019            of 5/13/2019
                                                                                 [5]                                                             [6]                                       [7]                   [8]
        AFT          Anheuser Busch                $                 97
        AFT          BlackRock                                     (143)
                             [9]
        AFT          Celgene                                     (2,554)
        AFT          eBay                                          (428)
        AFT          Halliburton                                   (126)
        AFT          Home Depot                                    (361)
        AFT          Estee Lauder                                 1,247
        AFT          Raytheon[9][8]                                 347
        AFT          S&P Global                                    (181)
        AFT          Schlumberger                                   138
        AFT          Schwab                                        (504)
        AFT          Texas Instruments                             (383)
        AFT          Lazard Int Strategic EQ[10]                                                                    $            9,306                                   667.58                            $           14.45               9,646
        AFT          Maingate MLP Fund[11]                       (2,844)
        AFT          PIMCO Comm Real Ret[6][11]                   2,164
        AFT          Vanguard FTSE DEV MKT[10][11]                                                                              (4,153)                                  (103.53) $              (18.12)               41.02               (4,265)
        AFT          Parnassus Core Equity INST                                          50% $            (1,766)               (1,766) $              42.03              (42.02) $               (4.92)               45.18               (1,903)
        AFT          Touchstone Sands Capital INST                                       50%              (1,766)               (1,766)                21.82              (80.93)                                      24.09               (1,950)
     AFT Total                                       $           (3,532)                      $           (3,532) $              1,621                                                                                         $           1,529

        BFT          Anheuser Busch                  $               97
        BFT          BlackRock                                     (143)
        BFT          Celgene[9]                                  (2,554)
        BFT          eBay                                          (428)
        BFT          Halliburton                                   (126)
        BFT          Home Depot                                    (361)
        BFT          Estee Lauder                                 1,247
        BFT          Raytheon[9][8]                                 347
        BFT          S&P Global                                    (181)
        BFT          Schlumberger                                   138
        BFT          Schwab                                        (504)
        BFT          Texas Instruments                             (383)
        BFT          PIMCO Comm Real Ret[9][11]                   2,212
        BFT          Vanguard FTSE DEV MKT[10]                                                                      $           (6,581)                                  (164.04)                          $           41.02               (6,729)
        BFT          Clearbridge Small Cap Growth                                      12.50% $             (80)                   (80) $              35.93               (2.23)                                      35.11                  (78)
        BFT          Parnassus Core Equity INST                                        43.75%              (280)                  (280)                42.03               (6.67)                                      45.18                 (301)
        BFT          Touchstone Sands Capital INST                                     43.75%              (280)                  (280)                21.82              (12.84)                                      24.09                 (309)
     BFT Total                                       $             (640)                      $            (640) $              (7,222)                                                                                        $           (7,417)

      TOTAL                                          $           (4,172)                      $           (4,172) $             (5,601)                                                                                        $           (5,889)




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                                            Fleck Revocable Trusts - Forgone Dividends                                       Attachment 4



                                                                                 Dividends for
                                                    Dividend Declared           Shareholders of
     Trust                     Asset                       Date                   Record on            Payment Date             Dividends

      AFT         Anheuser Busch                       10/26/2018                 11/28/2018             12/21/2018
      AFT         BlackRock                            11/21/2018                  12/7/2018             12/26/2018         $        (65.73)
      AFT         Celgene                              No Dividend
      AFT         eBay                                 No Dividend
      AFT         Halliburton                           11/8/2018                  12/6/2018             12/27/2018                  (20.52)
      AFT         Home Depot                           11/16/2018                 11/29/2018             12/13/2018
      AFT         Estee Lauder                         10/31/2018                 11/30/2018             12/17/2018
      AFT         Raytheon[1]                          10/10/2018                 11/16/2018             12/10/2018
      AFT         S&P Global                           10/30/2018                 11/28/2018             12/12/2018
      AFT         Schlumberger                          12/4/2018                  12/5/2018              1/11/2019                  (95.00)
      AFT         Schwab                               No Dividend
      AFT         Texas Instruments[2]                  1/17/2019                  1/30/2019              2/11/2019                  (78.54)
      AFT         Lazard Int Strategic EQ              12/21/2018                 12/20/2018             12/24/2018               (2,689.64)
      AFT         Maingate MLP Fund                    No Dividend
      AFT         PIMCO Comm Real Ret                  12/26/2018                 12/24/2018             12/26/2018               (1,205.80)
      AFT         Vanguard FTSE DEV MKT                12/20/2018                 12/26/2018             12/28/2018               (1,857.11)


      BFT         Anheuser Busch                       10/26/2018                 11/28/2018             12/21/2018
      BFT         BlackRock                            11/21/2018                  12/7/2018             12/26/2018         $        (65.73)
      BFT         Celgene                              No Dividend
      BFT         eBay                                 No Dividend
      BFT         Halliburton                           11/8/2018                  12/6/2018             12/27/2018                  (20.52)
      BFT         Home Depot                           11/16/2018                 11/29/2018             12/13/2018
      BFT         Estee Lauder                         10/31/2018                 11/30/2018             12/17/2018
      BFT         Raytheon                             10/10/2018                 11/16/2018             12/10/2018
      BFT         S&P Global                           10/30/2018                 11/28/2018             12/12/2018
      BFT         Schlumberger                          12/4/2018                  12/5/2018              1/11/2019                  (95.00)
      BFT         Schwab                               No Dividend
      BFT         Texas Instruments[1]                  1/17/2019                  1/30/2019              2/11/2019                  (78.54)
      BFT         PIMCO Comm Real Ret                  12/26/2018                 12/24/2018             12/26/2018               (1,232.52)
      BFT         Vanguard FTSE DEV MKT                12/20/2018                 12/26/2018             12/28/2018               (2,942.60)

Notes:
 [1] The Masten Report, Schedule 3a indicates a Raytheon dividend payment on December 10, 2018 but the Trust account statements do not
 show a dividend payment until January 31, 2019. I have utilized the same Raytheon dividend information as the Masten Report.
 [2] In Masten Report, Schedule 3a, Masten considers foregone dividends for the period December 3, 2018 to January 3, 2019. To analyze
 scenarios that utilize different harvest and re-investment dates, I have considered dividends declared in January 2019. Dividends obtained
 from January 2019 and February 2019 Account Statements [FWTB_0000240, FWTB_0000055, FWTB_0000226, and FWTB_0000041].
Source: Masten Report, Schedule 3a




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                                                                     Fleck Revocable Trusts - Effect of Tax Harvest Sale Date on                                                   Attachment 5
                                                                                  Trust Value as of May 13, 2019




                                         Increase (Decrease) in Total Trust Value on May 13, 2019 Depending on Harvest Date
                        $140,000
                                        $121,337
                        $120,000


                        $100,000

                                             $73,907
                          $80,000


                          $60,000

                                                          $33,277
                          $40,000
Change in Trust Value




                                             $33,103                           $8,708   $16,868
                          $20,000
                                                                           $(828)                 $(1,070)
                              $-
                                                                $(5,889)
                                                                                                                $(26,434)
                         $(20,000)

                                                                                                                         $(52,552)
                         $(40,000)

                                                                                                             $(48,010)               $(67,067)
                         $(60,000)
                                                                                                                                                                        $(77,978)
                         $(80,000)
                                                                                                                                                                                        $(91,874)
                                                                                                                            $(84,395)                     $(103,286)
                        $(100,000)
                                                                                                                                                                       $(89,012)
                                                                                                                                             $(108,363)
                        $(120,000)




                                   Source: Attachment 3




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                                         Expected Portfolio Return Based on Market Indices                                 Attachment 6

                                                                                                                    Weighted Index
            Asset Class                            Selected Index                Target Allocation   Index Return      Return
                                                                                        [1]              [2]
US Large Cap Equities                 S&P 500                                          13%                  9.76%       1.27%
US Mid Cap Equities                   S&P Midcap 400                                    4%                  3.07%       0.12%
US Small Cap Equities                 S&P SmallCap 600                                  6%                 -0.14%       -0.01%
International Equities                S&P International 700                            12%                 -2.97%       -0.36%
Emerging Markets                      S&P Emerging BMI                                  3%                 -2.31%       -0.07%
High Yield Bonds                      S&P U.S. High Yield Corporate Bond Index          4%                  7.00%       0.28%
Fixed Income                          S&P U.S. Aggregate Bond Index                    49%                  5.40%       2.65%
Alternatives                          See Attachment 8                                 8%                   2.71%       0.22%
Cash and Equivalents                  S&P US T-Bill                                     1%                  2.26%       0.02%
                                                                                      Expected Annualized Return        4.12%

Sources:
[1] May 8, 2018 Investment Policy Statement, specifically FWTB_0000441
[2] S&P Indices data retrieved from www.spglobal.com. See Attachment 9.




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                                          Actual Portfolio Performance                                             Attachment 7

                                      Relevant Date      Aaron Fleck Trust Barbara Fleck Trust    Combined
Beginning Value                         5/23/2018        $      (4,000,000) $        (4,000,000) $ (8,000,000)
Fees
 Quarterly Portfolio Fee - 6/30/18       7/20/2018                     1,495               1,487           2,981
 Q218 Investment Management Fee          7/20/2018                       174                 174             347
 Q318 Investment Management Fee         10/12/2018                       496                 496             992
 Quarterly Portfolio Fee - 9/30/18      10/12/2018                     3,547               3,517           7,064
 Q418 Investment Management Fee          1/18/2019                       462                 462             924
 Quarterly Portfolio Fee - 12/31/18      1/18/2019                     6,932               6,849          13,781
 Quarterly Portfolio Fee - 3/31/19       4/19/2019                     6,874               6,777          13,651
Ending Value                              5/6/2019                 4,182,610           4,115,371       8,297,980
                            Actual Annualized Return                  5.33%               3.55%            4.44%
        Expected Annualized Return (from Attachment 6)                4.12%               4.12%            4.12%
                Overperformance (Underperformance)                    1.20%              -0.57%            0.31%

Sources: Aaron Fleck Trust and Barbara G. Fleck Trust Account Statements for May 2018 - May 2019; FLECK_000167;
FLECK_000974




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                                     Alternative Investment Return Analysis                                   Attachment 8

                                   Weighted Return of Alternative Investments

                                                           Index Return,                   Weighted Index
                             Selected Index                 Annualized          Weight   Return, Annualized
REITs                S&P Global REIT                          13.36%            25.0%                3.34%
MLPs                 S&P MLP Index                             0.83%            25.0%                0.21%
Commodities          S&P GSCI                                 -10.79%           25.0%               -2.70%
Private Equity       S&P Listed Private Equity Index           7.44%            25.0%                1.86%
Total Alternatives                                                              100.0%               2.71%

Source: S&P Indices data retrieved from www.spglobal.com




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                                                                             Annualized Index Returns                                                                  Attachment 9




                                                                                                                                          Lenth of        Length of
                                                                           Selected     Index Value on     Selected     Index Value on   Investment       Investment
       Asset Class                        Selected Index                Beginning Date Beginning Date     Ending Date    Ending Date       (Days)          (Years)     CAGR
US Large Cap Equities        S&P 500                                      5/23/2018            5,369.99    5/6/2019           5,868.45              348         0.95     9.76%
US Mid Cap Equities          S&P Midcap 400                               5/23/2018            2,902.71    5/6/2019           2,987.53              348         0.95     3.07%
US Small Cap Equities        S&P SmallCap 600                             5/23/2018            1,301.12    5/6/2019           1,299.36              348         0.95    -0.14%
International Equities       S&P International 700                        5/23/2018            3,453.02    5/6/2019           3,355.16              348         0.95    -2.97%
Emerging Markets             S&P Emerging BMI                             5/23/2018              497.38    5/6/2019             486.41              348         0.95    -2.31%
High Yield Bonds             S&P U.S. High Yield Corporate Bond Index     5/23/2018              608.21    5/6/2019             648.72              348         0.95     7.00%
Fixed Income                 S&P U.S. Aggregate Bond Index                5/23/2018              189.43    5/6/2019             199.17              348         0.95     5.40%
Alternatives - PE            S&P Listed Private Equity Index              5/23/2018              292.65    5/6/2019             313.36              348         0.95     7.44%
Alternatives - REITs         S&P Global REIT                              5/23/2018              531.18    5/6/2019             598.60              348         0.95    13.36%
Alternatives - MLPs          S&P MLP Index                                5/23/2018            4,704.40    5/6/2019           4,741.51              348         0.95    0.83%
Alternatives - Commodities   S&P GSCI                                     5/23/2018            2,861.85    5/6/2019           2,566.77              348         0.95   -10.79%
Cash and Equivalents         S&P US T-Bill                                5/23/2018              230.58    5/6/2019             235.55              348         0.95    2.26%

Source: S&P Indices data retrieved from www.spglobal.com




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                                               Realized Gains/(Losses) Resulting from Masten Scenario                                                              Attachment 10



                                                             Increase in
                                               Original      Shares at         Total              Share Price                                          Realized
     Trust                 Asset                Shares      Repurchase        Shares              on 2/6/2019 Total Proceeds         Cost Basis     Gain/Loss
                                                  [1]            [1]                                  [2]                               [3]
        AFT     Anheuser Busch                    120.00            18.46        138.46           $    78.48 $          10,866   $         9,185   $       1,681
        AFT     BlackRock                          21.00             2.86         23.86                416.05            9,927             9,103             823
        AFT     Celgene                           145.00           (19.15)       125.85                 87.95           11,068            10,699             370
        AFT     eBay                              300.00            18.54        318.54                 35.60           11,340             9,072           2,268
        AFT     Halliburton                       114.00            21.48        135.48                 32.06            4,343             3,692             652
        AFT     Home Depot                         61.00             4.52         65.52                184.63           12,097            11,154             943
        AFT     Estee Lauder                       76.00            12.47         88.47                150.26           13,293            11,302           1,992
        AFT     Raytheon                           27.00             3.93         30.93                174.95            5,411             4,743             668
        AFT     S&P Global                         28.00             3.19         31.19                193.17            6,025             5,203             822
        AFT     Schlumberger                      190.00            42.63        232.63                 45.03           10,475             8,714           1,761
        AFT     Schwab                            199.00            22.64        221.64                 46.01           10,198             9,096           1,102
        AFT     Texas Instruments                 102.00            13.16        115.16                106.32           12,244            10,406           1,837
                                  [4]
        AFT     Maingate MLP Fund               9,964.91         1,296.60     11,261.51                  7.21           81,196            73,876           7,320
        AFT     PIMCO Comm Real Ret            12,719.43           854.72     13,574.15                  5.93           80,495            76,015           4,479
Subtotal                                                                                                        $      278,978   $       252,260   $      26,718

        BFT     Anheuser Busch                    120.00            18.46        138.46           $    78.48 $          10,866   $         9,185   $       1,681
        BFT     BlackRock                          21.00             2.86         23.86                416.05            9,927             9,103             823
        BFT     Celgene                           145.00           (19.15)       125.85                 87.95           11,068            10,699             370
        BFT     eBay                              300.00            18.54        318.54                 35.60           11,340             9,072           2,268
        BFT     Halliburton                       114.00            21.48        135.48                 32.06            4,343             3,692             652
        BFT     Home Depot                         61.00             4.52         65.52                184.63           12,097            11,154             943
        BFT     Estee Lauder                       76.00            12.47         88.47                150.26           13,293            11,302           1,992
        BFT     Raytheon                           27.00             3.93         30.93                174.95            5,411             4,743             668
        BFT     S&P Global                         28.00             3.19         31.19                193.17            6,025             5,203             822
        BFT     Schlumberger                      190.00            42.63        232.63                 45.03           10,475             8,714           1,761
        BFT     Schwab                            199.00            22.64        221.64                 46.01           10,198             9,096           1,102
        BFT     Texas Instruments                 102.00            13.16        115.16                106.32           12,244            10,406           1,837
        BFT     PIMCO Comm Real Ret            13,001.28           873.66     13,874.94                  5.93           82,278            77,700           4,579
Subtotal                                                                                                        $      199,566   $       180,069   $      19,497

Total                                                                                                           $      478,544   $       432,329   $      46,215

                                                                                                                Plaintiff's Marginal Tax Rate[5]          28.43%
                                                                                                                        Realized Tax Liability     $      13,139
Notes:
 [1] The original shares and the increase in shares repurchased in the Masten Report's scenario obtained from the Masten Report, Schedule 3.
 [2] The share price on 2/6/2019 is calculated as the actual proceeds received in the Trust accounts divided by the number of shares sold.
 [3] The cost basis for each security is represented by the funds that were available to reinvest as of 1/3/2019 from the Masten Report, Schedule 3.
 [4] The Maingate MLP Fund was liquidated prior to the February 2019 allocation. I utilize the same $7.21 price utilized in the Masten Report in calculating the
 proceeds the Trusts would have received in the Masten Report's scenario. See the Masten Report, Schedule 4.
 [5] I have utilized the same marginal tax rate as the Masten Report. See Masten Report, Schedule 2.

Sources: FWTB_0000140; FWTB_0000330; Masten Report, Schedule 3


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                        Actual Realized Gains/(Losses) of Securities Included in the Masten Report                                    Attachment 11


                                                                                                                        Realized
            Trust                  Asset               Sale Date     Shares Sold       Proceeds        Cost             Gain/Loss

                AFT    Anheuser Busch                    2/6/2019           120    $       9,417   $    11,052      $       (1,635)
                AFT    BlackRock                         2/6/2019            21            8,737        10,944              (2,207)
                AFT    Celgene                           2/6/2019           145           12,753        11,252               1,501
                AFT    eBay                              2/6/2019           300           10,680        11,268                (588)
                AFT    Halliburton                       2/6/2019           114            3,655         5,654              (2,000)
                AFT    Home Depot                        2/6/2019            61           11,262        11,289                 (27)
                AFT    Estee Lauder                      2/6/2019            76           11,420        11,401                  18
                AFT    Raytheon                          2/6/2019            27            4,724         5,627                (904)
                AFT    S&P Global                        2/6/2019            28            5,409         5,514                (105)
                AFT    Schlumberger                      2/6/2019           190            8,556        12,706              (4,150)
                AFT    Schwab                            2/6/2019           199            9,156        10,943              (1,787)
                AFT    Texas Instruments                 2/6/2019           102           10,845        11,290                (445)
                                                [1]
                AFT    Lazard Int Strategic EQ             N/A          N/A              N/A           N/A                N/A
                                            [2]
                AFT    Maingate MLP Fund                12/21/2018        9,965           66,466        83,050             (16,584)
                AFT    PIMCO Comm Real Ret               2/6/2019        12,934           76,699        89,808             (13,109)
                                                    [1]
                AFT    Vanguard FTSE DEV MKT               N/A          N/A              N/A           N/A                N/A
        Subtotal                                                                   $     249,777   $   291,799      $      (42,022)

                BFT    Anheuser Busch                  2/6/2019             120    $       9,417   $    11,052      $       (1,635)
                BFT    BlackRock                       2/6/2019              21            8,737        10,944              (2,207)
                BFT    Celgene                         2/6/2019             145           12,753        11,252               1,501
                BFT    eBay                            2/6/2019             300           10,680        11,268                (588)
                BFT    Halliburton                     2/6/2019             114            3,655         5,654              (2,000)
                BFT    Home Depot                      2/6/2019              61           11,262        11,289                 (27)
                BFT    Estee Lauder                    2/6/2019              76           11,420        11,401                  18
                BFT    Raytheon                        2/6/2019              27            4,724         5,627                (904)
                BFT    S&P Global                      2/6/2019              28            5,409         5,514                (105)
                BFT    Schlumberger                    2/6/2019             190            8,556        12,706              (4,150)
                BFT    Schwab                          2/6/2019             199            9,156        10,943              (1,787)
                BFT    Texas Instruments               2/6/2019             102           10,845        11,290                (445)
                BFT    PIMCO Comm Real Ret             2/6/2019          13,221           78,398        92,366             (13,968)
                                             [1]
                BFT    Vanguard FTSE DEV MKT             N/A            N/A              N/A           N/A                N/A
        Subtotal                                                                   $     185,010   $   211,307      $      (26,297)
        Total                                                                      $     434,787   $   503,106      $      (68,319)

                                                                                                              [3]
                                                                              Plaintiff's Marginal Tax Rate                 28.43%
                                                                                          Realized Tax Savings      $      (19,423)

        Notes:
         [1] Lazard Int Strategic Eq and Vanguard FTSE DEV MKT funds were held through the February 2019 reallocation and
         transferred to another investment manager in May 2019.
         [2] Maingate MLP Fund was sold on December 20, 2018 resulting in a realized loss. See FWTB_0000207.
         [3] I have utilized the same marginal tax rate as the Masten Report. See Masten Report, Schedule 2.

        Sources: Masten Report, Schedule 1; Trust Account Statements for December 2018 and February 2019 [FWTB_0000041,
        FWTB_0000226, FWTB_0000207]; Masten Report, Schedule 2


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                                      Unrealized Gains/(Losses) Resulting from Masten Scenario                                                      Attachment 12

                                                            Increase in
                                               Original      Shares at       Total        Share Price on Total Market                           Unrealized
     Trust                  Asset               Shares     Repurchase        Shares           5/8/2019           Value            Cost Basis    Gain/Loss
                                                  [1]           [1]                              [2]                                 [3]

        AFT      Lazard Int Strategic EQ         13,273         2,238.16     15,511                    14.45 $     224,136    $       196,371   $      27,765
        AFT      Vanguard FTSE DEV MKT            4,800           456.50      5,257                    41.02       215,622            193,649          21,972
Subtotal                                                                                                    $      439,758    $       390,020   $      49,737

        BFT      Vanguard FTSE DEV MKT            7,669           659.94      8,329                    41.02 $     341,653    $       306,838   $      34,815
Subtotal                                                                                                    $      341,653    $       306,838   $      34,815

Total                                                                                                       $      781,411    $       696,859   $      84,552

                                                                                                            Plaintiff's Marginal Tax Rate[4]           28.43%
                                                                                                                         Future Tax Liability $        24,038
Notes:
 [1] The original shares and the increase in shares repurchased in the Masten Report's scenario obtained from the Masten Report, Schedule 3.
 [2] The share price on 5/8/2019 obtained from the Masten Report, Schedule 5.
 [3] The cost basis for each security is represented by the funds that were available to reinvest as of 1/3/2019 from the Masten Report, Schedule 3.
 [4] I have utilized the same marginal tax rate as the Masten Report. See Masten Report, Schedule 2.

Sources: FWTB_0000140; FWTB_0000330; Masten Report, Schedule 3; Masten Report, Schedule 5




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                               Unrealized Gains/(Losses) Resulting from Masten Scenario                                                          Attachment 13

                                                            Additional              Basis of                          Total Market
                                                         Shares Acquired           Additional       Share Price on        Value as of    Unrealized
   Trust                       Asset                       on 2/11/2019             Shares             5/8/2019            5/8/2019      Gain/Loss
                                                                 [1]                  [1]                 [1]

   AFT      PARNASSUS CORE EQUITY INST                             298.54      $        12,548                  45.18 $         13,488   $      940
   AFT      TOUCHSTONE SANDS CAPITAL INST                          575.05               12,548                  24.09           13,853        1,305
Subtotal                                                                                                              $         27,341   $    2,246

   BFT      CLEARBRIDGE SMALL CAP GROWTH                            55.17      $            1,982               35.11 $          1,937   $      (45)
   BFT      PARNASSUS CORE EQUITY INST                             165.08                   6,938               45.18            7,458          520
   BFT      TOUCHSTONE SANDS CAPITAL INST                          317.98                   6,938               24.09            7,660          722
Subtotal                                                                                                              $          7,660   $      722

Total                                                                                                                 $         35,001   $    2,967

                                                                                                    Plaintiff's Marginal Tax Rate[2]         28.43%
                                                                                                                Future Tax Liability     $      844
Notes:
 [1] The additional shares that the Trusts would have been able to acquire in the Masten Report's scenario obtained from the Masten Report,
 Schedule 4.
 [2] I have utilized the same marginal tax rate as the Masten Report. See Masten Report, Schedule 2.

Sources: Masten Report, Schedule 2; Masten Report, Schedule 4




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707 Seventeenth Street                    Jon S. Ahern, CPA, CGMA
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Denver, CO 80202                          Senior Director – Disputes and Investigations
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                                          Jon Ahern, a Senior Director in the Denver office of Alvarez & Marsal
Professional Certifications
                                          Disputes and Investigations, LLC, has over thirty years of experience in
 Certified Public Accountant (CO)
                                          analyzing complex financial, accounting and economic issues for corporate
 Chartered Global Management Accountant   clients and counsel in the context of litigation and dispute resolution.
 (CGMA)

                                          Mr. Ahern has assisted companies in numerous industries, including
Professional History                      telecommunications, utilities, insurance, financial institutions, natural
 Alvarez & Marsal
                                          resources, computer software, government contracts, technology,
 (2008 – present)                         construction, manufacturing, mining, automotive, agriculture, cannabis, and
 Navigant Consulting, Inc.                real estate. Mr. Ahern has expertise in commercial damages, forensic
 (2004 – 2008)                            accounting, business valuation, corporate investigations, intellectual
 Tucker Alan Inc.                         property damages, employment-related damages, class actions, trusts and
 (1994-2004)
                                          estates, complex data analysis, insurance coverage and other areas.
 Peterson Consulting, LP
 (1992-1994)
                                          Mr. Ahern has provided expert witness testimony on over thirty matters in
                                          various forums, including matters pending before federal courts, state
Education
                                          courts, arbitration panels, regulatory agencies, and other venues. Mr. Ahern
 Colorado College
 Bachelor of Arts, Economics (1992)
                                          has testified on commercial damages, valuation and forensic accounting
 Magna cum laude                          analyses related to telecommunications, oil and gas, cannabis, automotive,
 Metro State College of Denver            leisure & travel, complex data analysis, manufacturing, class action litigation,
 Accounting coursework (2001 to 2005)     fraud investigation, employment, personal injury, and other issues.

Honors                                    Mr. Ahern earned a Bachelor of Arts in Economics, magna cum laude, from
 Boettcher Scholar                        Colorado College in 1992 and completed additional accounting coursework
 Colorado College, 1988-1992              at Metro State College of Denver. Mr. Ahern is a Certified Public Accountant
 Phi Beta Kappa                           (CPA) licensed by the State of Colorado and a Chartered Global
 Colorado College, 1992
                                          Management Accountant (CGMA).

Professional Affiliations

 American Institute of Certified Public
 Accountants (AICPA)




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                                                                                           R. Dean Graves
    COMPLEX COMMERCIAL DAMAGES & BUSINESS VALUATION MATTERS:

•   Provided expert testimony in a dispute related to natural gas exploration, production, and transportation
    in Colorado. Evaluated the potential economic impact of a delay in pipeline operations on completed
    and producing wells in the region, including production modeling, operating costs, transportation costs,
    cost of capital and natural gas futures markets.
•   Provided expert testimony on valuation and commercial damages in a legal malpractice matter related
    to a multi-state commercial plant and flower growing operation.
•   Provided expert testimony on damages issues in a partner dispute related to a luxury real estate and
    golf course development project.
•   Provided expert testimony at arbitration related to commercial damages in the cannabis industry in a
    dispute regarding wrongful termination of franchise agreements and the related value of lost royalties
    and loss of “right of first refusal” to purchase the franchise.
•   Provided expert testimony at trial on dispute related to alleged minority shareholder oppression of a
    mutli-billion dollar privately held company. Analyzed valuation issues, reviewed distribution history, and
    analyzed potential damages claimed by minority shareholders.
•   Provided expert testimony in deposition and at trial on a matter involving the value of lifetime ski pass
    privileges in the leisure and travel industry. Evaluated 20 years of historical usage and developed a
    damages and valuation model based on up to 70 years of future use. Considered industry trends, local
    economic factors and other issues to determine the net present value of potential losses.
•   Evaluated complex executive compensation damages issues in an accounting malpractice matter
    related to failed tax shelter arrangements for senior executives of a public company. Analyzed stock
    option grants/vesting/exercise, restricted stock grants, and other executive compensation to calculate
    potential economic losses under various scenarios.
•   Provided expert testimony in several disputes related to automotive dealerships, including termination
    disputes and a new dealer protest action. Evaluated financial condition and stability using dealership
    financial statements, performed comparisons to various geographical and size-based peer groups for
    dealerships for the same manufacturers and analyzed market data relevant to subject dealerships.
•   Performed business valuations and analyzed valuation-related issues in numerous disputes in
    Bankruptcy Court and other forums. Evaluated and weighted valuation approaches for companies in
    various industries including automotive parts, voting equipment and services, restaurants, real estate,
    technology, and other industries.
•   Evaluated damages in a “failure to fund” matter related to an urban high-rise condominium
    development project. Compared terms of replacement financing to original financing, and determined
    damages based on additional interest costs, additional project costs, delay-related costs, deferred take-
    down schedules for condo units, additional equity investments, and other factors.
•   Assessed the damages to a natural gas marketing company due a breach of contract by the company
    engaged to provide interstate transportation services. Evaluated the markets for supply and demand of
    natural gas at the wellhead and destination, as well as the potential profits that could have been
    realized under alternative shipping arrangements.
•   Analyzed damages in a dispute between two mining companies over the purchase/sale of a gold
    mining operation in New Zealand. Evaluated the mine’s actual cash flow, remediations costs, and
    operating margins. Presented findings at mediation.
•   Analyzed damages issues in a dispute related to a failed land development partnership in Colorado.
    Projected partnership cash flows and values overtime by forecasting development costs, lot values,


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                                                                                       R. Dean Graves
    take-down schedules, tap fees, partnership operating expenses and financing costs. Developed a
    complex financial model and range of values before settlement of the case.
•   Performed numerous lost compensation calculations related to wrongful termination, temporary disability,
    permanent disability, and death. Utilized appropriate economic and financial data, including earning
    history, occupational information, demographic data and mitigating factors such as alternative employment
    income, future earning potential and the time value of money to determine economic loss.

    FORENSIC ACCOUNTING AND CORPORATE INVESTIGATIONS:

•   Provided expert testimony in United States Bankruptcy court on financial and accounting issues related
    to substantive consolidation. Evaluated business records and accounting detail of a holding company
    and wholly-owned subsidiary in the voting systems industry to determine whether the companies’
    operations and financial condition were separate and could be reasonably distinguished.
•   Provided expert testimony related to allegedly fraudulent distributions from an estate and assessed
    restitution and unjust enrichment from the perspective of the distributions’ recipients.
•   Worked directly with Special Counsel hired by the Audit Committee of a publicly traded company
    related to a stock-option backdating investigation. Directed a team that reviewed option grant
    procedures, documentation, and timing. Presented findings to the company’s Board.
•   Performed forensic analysis of billions of dollars of transaction-level revenue in special purpose
    financial statements for a large telecommunications provider. Developed methods to compile and
    analyze local revenue, access revenue, long distance revenue and other revenue over a five-year
    period. Assisted with design and development of data repository and reporting tools.

    TELECOMMUNICATIONS AND REGULATED INDUSTRY MATTERS:

•   Provided expert testimony at arbitration in a dispute related to wholesale telecommunications services.
    Analyzed charge detail, discounts, payments, credits and other information from over 250 invoices and
    reconciled totals with supporting call detail records. Evaluated damages issues related to alleged traffic
    losses caused by service quality and pricing issues.
•   Evaluated over 30 million call detail records in the context of a dispute between a Regional Bell
    Operating Company (RBOC) and a Competitive Local Exchange Carrier (CLEC). Analyzed the CLEC’s
    allegation that the RBOC was systematically under-reporting access call traffic, causing financial harm
    to CLEC. Developed analytical databases and ultimately matched or explained over 99% of the
    alleged unreported calls. Prepared expert report and provided deposition testimony.
•   Assisted a large telecommunications company with the analysis of telephone rental charges to
    customers over a six-year period in the context of a class action matter. Developed a class member
    database to collect, compile and organize data for nearly 200,000 customers and provided declarations
    to the court related to potential class members and counsel’s valuation of a settlement agreement.
•   Analyzed the causes of failure of a global internet infrastructure company in the context of a dispute
    with a provider of a national, fiber optic indefeasible right of use (IRU). Evaluated financial, operational
    and market issues, including comparable IRU transactions, market valuations and international
    bandwidth pricing and demand trends.
•   Evaluated damages and causation issues in fraud and breach of contract disputes between wireless
    telecommunications entities and third-party telemarketers and resellers of wireless services. Evaluated
    account information and call detail records to identify potentially fraudulent accounts wireless phone
    orders and developed a database model to track results.
•   Assisted a major electric and gas utility in the analysis of general and administrative expenses for the


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    purposes of ratemaking. Developed and implemented a web-based questionnaire for R.           Dean Graves
                                                                                               collection  of each
    department’s historical costs, cost forecasts and activity level work detail for use in regulatory filings.
•   Created a valuation model for a nuclear power generating facility at the center of a dispute between
    members of an electric power cooperative. Projected the detailed financial performance of the facility
    using factors related to rate base, cost of capital, demand for electric power and other relevant
    operational and market factors.

    INTELLECTUAL PROPERTY MATTERS:

•   Evaluated damages in a trade secret misappropriation matters in numerous industries, including
    biotechnology, industrial ventilation, investment management, steel building construction, financial
    institutions, and other industries. Analyzed lost profits, unjust enrichment, cost to cure, corrective
    advertising and other potential remedies.
•   Analyzed lost profits and reasonable royalty damages in a patent dispute involving computer disk utility
    software. Compiled and analyzed domestic and international product line sales data for two alleged
    infringers of the patent and used Panduit factors to determine lost profits versus reasonable royalty, by
    product line.
•   Analyzed the lost profits of an international computer software company resulting from the alleged
    copyright infringement of a competitor. Involved the assessment of industry and economic trends,
    product lifecycles, pricing policies and corporate cost allocation procedures.
•   Determined damages in a trademark infringement case involving manufacturers of screen-printed shirts
    and other souvenirs. Calculated the profits achieved by the infringing company, assessed the lost
    sales and income of the plaintiff, and analyzed the companies’ cost structures to identify the variable
    expenditures associated with additional sales.

    INVESTMENT MANAGEMENT AND FINANCIAL INSTITUTION MATTERS:

•   Provided expert witness testimony related to a fraud investigation involving a warehouse line of credit
    for residential mortgage loans. Performed detailed analysis of the bank’s loan files, ownership and
    encumbrance reports and other information to understand and illustrate for the court how the alleged
    fraud was perpetrated.
•   Provided expert witness testimony on several matters involving investment management and private
    equity companies. Analyzed damages issues related to alleged mismanagement, trade secret theft,
    and regulatory non-compliance. Developed distribution waterfalls to evaluate cash flows, and analyzed
    portfolio returns in comparison to industry benchmarks.
•   Provided expert witness testimony at arbitration for a large national bank involving allegations that a
    customer’s losses were caused by the bank’s failure to detect a fraud scheme perpetrated by an
    employee of the customer.
•   Analyzed the lost profits of a savings and loan institution due to a breach of contract by governmental
    and regulatory agencies. Prepared a detailed financial model which simulated the financial position,
    operations and cash flows of the institution and its wholly owned mortgage banking subsidiary.
    Researched and incorporated variables related to cost of capital, portfolio yields, investment
    performance and regulatory compliance.
•   Performed an analysis of the accounting records of a large financial institution to assess losses
    attributable to mismanagement and fraud by the institution's Directors and Officers. Interviewed
    relevant personnel and prepared a detailed history of a $750 million loan portfolio that summarized the
    net cash loss to the institution.



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                                                                                             R. Dean Graves
    CONSTRUCTION, INSURANCE COVERAGE AND OTHER MATTERS:

•   Analyzed damages issues in a dispute related to construction of a large U.S. wind farm. Analyzed
    construction costs, change orders, cost overruns, delay impact on costs, demurrage, liquidated
    damages, and post-construction impact on project net present value.
•   Investigated and analyzed vendor contracts and construction costs in a dispute related to expansion of
    a large domestic airport.
•   Developed a forecasting and cost allocation database model for past and estimated future asbestos
    and silicosis claims of an industrial machinery manufacturer. Analyzed and mapped over 300
    insurance policies spanning a 40-year period. Assisted client and counsel with numerous buy-out and
    cost sharing negotiations with insurance companies.
•   Developed and utilized a spreadsheet model simulation of the Environmental Protection Agency's BEN
    Model to determine the economic benefit (or loss) realized by an equipment manufacturer through non-
    compliance with limits on the disposition of toxic by-products of a steel-coating process.
•   Calculated the damages suffered by a major defense contracting firm resulting from a vendor’s
    shipment of defective hybrid computer chips. Identified and quantified the direct, indirect, and overhead
    cost increases incurred by the defense contractor in correcting the problem and accelerating its
    remaining schedule to meet delivery deadlines imposed by government production schedules.
•   Analyzed various investments of a company that constructed, purchased and operated hydroelectric
    generating facilities in the Pacific Northwest. Assessed the reasonableness of projections related to
    construction costs, rainfall, power output and cost of generation to evaluate whether or not the asset
    valuations reported by the company were supportable.




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    Jon S. Ahern
    Deposition and Trial Testimony – Past Four Years

    Michael Herman, et al. v. Mutual of Omaha Investor Services, Inc.; Financial Industry
    Regulatory Authority (FINRA, Case No. 22-00519); Hearing Testimony, April 2023

    Nancy A. Leprino, Mary S. Leprino, et al. v. Leprino Foods Company, James G.
    Leprino, et al.; District Court, County of Denver, Colorado (Case No. 2020cv32541);
    Deposition, October 2022; Trial, December 2022

    Bounce Enterprises, LLC v. The KONG Company, LLC, et al.; District Court, City and
    County of Denver, Colorado (Case No. 2022cv032193); Hearing Testimony,
    November 2022

    Gilbert Zambrano, d/b/a Taskmasters v. Sparkplug Capital, LLC and Red Dot
    Management, LLC; United States District Court for the Northern District of Illinois
    (Case No. 1:19-cv-00100); Deposition, April 2021; Trial, September 2022

    GT Industrial Products, LLC v. Wells Fargo & Company, Wells Fargo Bank, N.A., and
    Aaron Talbot; American Arbitration Association (Case No. 01-21-0003-8289);
    Trial/Hearing, April 2022

    Medical Marijuana Access & Patient Safety, Inc. v. Keara Klinepeter, Acting Secretary,
    Pennsylvania Department of Health, et al.; Commonwealth Court of Pennsylvania
    (Case No. 58 M.D. 2022); Preliminary Injunction Hearing, February 2022

    Lambland, Inc. d/b/a A-1 Organics, Inc. v. Heartland Biogas, LLC; United States
    District Court, District of Colorado (Case No. 1:18-cv-01060-RM-KLM); Trial,
    November 2021

    Jushi FL, SPV, LLC, as assignee of TGS National Franchise, LLC v. San Felasco
    Nurseries, Inc., as assignee of Florida Compassionate Growers, LLC; American
    Arbitration Association (Case No. 01-18-0003-9481); Arbitration, May 2021

    Elk Creek Ranch Owners Association, et al. v. William Wheeler, et al.; District Court,
    Rio Blanco County, Colorado (Case No. 2017cv30015); Deposition, August 2018;
    Trial, October 2020
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    RV Horizons, Inc.; MHC America Fund, LLC, et al. v. Jamie Smith, Ryan Smith, MHPI
    VII, LLC, Elevation Capital Group, LLC, and Dahn Corporation; United States District
    Court, District of Colorado (Case No. 1:18-cv-02780-NYW); Deposition, April 2020

    In the Matter of the Estate of William J. Young, IV; District Court, El Paso County,
    Colorado (Case No. 2012PR0177); Trial, July 2019

    Kevin R. Collins and Cicero Investments. LLC v. Glenn Jacks and Galileo Investments,
    LLC; District Court, Douglas County, Colorado (Case No. 2017cv31123); Deposition,
    May 2019; Trial, July 2019

    Englebrecht Verbeek v. Moye White, LLP, et al.; Judicial Arbiter Group, Inc. (Case No.
    2018-0451A); Deposition, November 2018; Arbitration, February 2019




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Legal Filings
   1.     February 19, 2021 Complaint, Class Action Complaint, and Jury Demand
   2.     May 14, 2021 First Amended Complaint
   3.     March 15, 2021 Waiver and Acceptance of Service, with Exhibits
   4.     June 3, 2021 Scheduling Order
   5.     February 16, 2022 Amended Scheduling Order
   6.     November 12, 2021 Plaintiffs’ Objections and Responses to Defendants’ First Set of Requests for
          Production and Interrogatories to Plaintiffs
   7.     December 11, 2020 Mediation Statement
   8.     December 13, 2021 Defendants' Response and Objections to Plaintiffs' First Set of Discovery
          Requests
   9.     May 25, 2022 Motion to Certify Class by Plaintiff, with Exhibits
  10.     December 27, 2022 Order Denying Motion for Class Certification
  11.     March 22, 2023 Order Addressing Additional Expert Discovery and Affirmative Defenses
  12.     May 15, 2023 Plaintiff's Expert Disclosures

Expert Reports
  13.    March 24, 2022 Expert Report of Joseph Rulison
  14.    March 24, 2022 Expert Report of Robert Reidy
  15.    May 15, 2023 Expert Report of Lari B. Masten
  16.    April 14, 2022 Initial Expert Report of Jon Ahern

Depositions (with Exhibits)
  17.    March 1, 2022 Deposition of Aaron Fleck
  18.    March 3, 2022 Deposition of Charles Bantis
  19.    March 7, 2022 Deposition of Andrew Godfrey
  20.    March 8, 2022 Deposition of Barbara Fleck
  21.    March 9, 2022 Deposition of John Sawyer
  22.    June 1, 2022 Deposition of Joseph Rulison

Bates Stamped Documents
   23.   2018.12.31 IRS Transcript, FLECK_007522-FLECK_007537.pdf
   24.   2018.05 Account Statement Aaron, FWTB_0000300.pdf
   25.   2018.05 Account Statement Barb FWTB_0000112.pdf
   26.   2018.06 Account Statement Aaron, FWTB_0000271.pdf
   27.   2018.06 Account Statement Barb, FWTB_0000085.pdf
   28.   2018.06.30 Quarterly Performance Report, FWTB_0005167.pdf
   29.   2018.07 Account Statement Barb, FWTB_0000068.pdf
   30.   2018.07 Account Statement Barb, FWTB_0000254.pdf
   31.   2018.08 Account Statement Aaron, FWTB_0000193.pdf
   32.   2018.08 Account Statement Barb, FWTB_0000010.pdf
   33.   2018.09 Account Statement Aaron, FWTB_0000362.pdf
   34.   2018.09 Account Statement Barb, FWTB_0000170.pdf
   35.   2018.09.30 Quarterly Performance Report, FWTB_0005172.pdf
   36.   2018.10 Account Statement Aaron, FWTB_0000346.pdf
   37.   2018.10 Account Statement Barb, FWTB_0000155.pdf



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  38.   2018.11 Account Statement Aaron, FWTB_0000330.pdf
  39.   2018.11 Account Statement Barb, FWTB_0000140.pdf
  40.   2018.12 Account Statement Aaron, FWTB_0000207.pdf
  41.   2018.12 Account Statement Barb, FWTB_0000024.pdf
  42.   2018.12.31 Quarterly Performance Report, FWTB_0005177.pdf
  43.   2019.01 Account Statement Aaron, FWTB_0000240.pdf
  44.   2019.01 Account Statement Barb, FWTB_0000055.pdf
  45.   2019.02 Account Statement Aaron, FWTB_0000226.pdf
  46.   2019.02 Account Statement Barb, FWTB_0000041.pdf
  47.   2019.03 Account Statement Aaron, FWTB_0000290.pdf
  48.   2019.03 Account Statement Barb, FWTB_0000103.pdf
  49.   2019.03.31 Quarterly Report re Performance, FWTB_0005162.pdf
  50.   2019.04 Account Statement Aaron, FWTB_0000184.pdf
  51.   2019.04 Account Statement Barb, FWTB_0000001.pdf
  52.   2019.05 Account Statement Aaron, FWTB_0000319.pdf
  53.   2019.05 Account Statement Barb, FWTB_0000130.pdf
  54.   2019.05.06 FWTB gains and losses for Aaron Fleck_000971.pdf
  55.   2019.05.06 FWTB gains and losses for Barbara Fleck_001101.pdf
  56.   2019.06 Account Statement Aaron, FWTB_0000285.pdf
  57.   2019.06 Account Statement Barb, FWTB_0000098.pdf
  58.   2019.07 Account Statement Aaron, FWTB_0000268.pdf
  59.   2019.07 Account Statement Barb, FWTB_0000082.pdf
  60.   2018.05.08 Fee Agreement FWTB_0000426.pdf
  61.   2018.05.08 Investment Services Agreement FWTB_0000414.pdf
  62.   2018.05.08 IPS FWTB_0000437.pdf
  63.   2019.04.22 Dreher Capital Loss Analysis FWTB_0002382.pdf
  64.   2018.12 Tax Return (Draft), Fleck_007103.pdf
  65.   2019.12.31 Fleck 2019 tax returns FLECK_000252.pdf
  66.   FLECK_000003-FLECK_000038 A Fleck Revocable Trust 12 1 18 12 31 18_REDACTED.pdf
  67.   FLECK_000039-FLECK_000049 A Fleck Revocable Trust Income and Expenses 12 31 18 5 15
        19_REDACTED.pdf
  68.   FLECK_000072-FLECK_000090 Barbara Fleck Revocable Trusrt 12 31 18 5 15
        19_REDACTED.pdf
  69.   FLECK_000101-FLECK_000170 Fleck Revocable Trust 12 31 18 5 15 19_REDACTED.pdf
  70.   FLECK_000171-FLECK_000251 Fleck Revocable Trust 4 1 19 41 30 19
        Statement_REDACTED.pdf
  71.   FWTB_0000010.pdf
  72.   FWTB_0000024.pdf
  73.   FWTB_0000041.pdf
  74.   FWTB_0000055.pdf
  75.   FWTB_0000068.pdf
  76.   FWTB_0000082.pdf
  77.   FWTB_0000085.pdf
  78.   FWTB_0000098.pdf
  79.   FWTB_0000103.pdf
  80.   FWTB_0000112.pdf



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  81.   FWTB_0000130.pdf
  82.   FWTB_0000140.pdf
  83.   FWTB_0000155.pdf
  84.   FWTB_0000170.pdf
  85.   FWTB_0000184.pdf
  86.   FWTB_0000193.pdf
  87.   FWTB_0000207.pdf
  88.   FWTB_0000226.pdf
  89.   FWTB_0000240.pdf
  90.   FWTB_0000254.pdf
  91.   FWTB_0000268.pdf
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  93.   FWTB_0000285.pdf
  94.   FWTB_0000290.pdf
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  96.   FWTB_0000319.pdf
  97.   FWTB_0000330.pdf
  98.   FWTB_0000346.pdf
  99.   2018.11.06 QIR, FWTB_0005321
 100.   FWTB_0000362.pdf
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 115.   FWTB_0001105.pdf
 116.   FWTB_0001114.pdf
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 123.   FWTB_0005557.pdf
 124.   FWTB_0005570.xlsx
 125.   FLECK_000328-FLECK_000330 Letter to Podoll 9.10.2020.pdf
 126.   FWTB_0000460.pdf



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 127.   FWTB_0000461.pdf
 128.   FWTB_0000545.pdf
 129.   FWTB_0000555.pdf
 130.   FWTB_0000772.pdf
 131.   FWTB_0000773.pdf
 132.   FWTB_0000774.pdf
 133.   FWTB_0000947.pdf
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 135.   FWTB_0001100.pdf
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 148.   FWTB_0005160.pdf
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 150.   FWTB_0007748.pdf
 151.   FWTB_0007753.pdf
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 153.   FWTB_0007769.pdf
 154.   FWTB_0007770.pdf
 155.   FWTB_0007775.pdf
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  174.   FWTB_0008358.pdf
  175.   FLECK_000252-FLECK_000327 AARONHandBARBARAG_REDACTED.pdf
  176.   Fleck_007103.pdf
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  181.   FLECK_000050-FLECK_000055 A Fleck Trust Investment Svcs Agreement.pdf
  182.   FLECK_000056-FLECK_000060 A Fleck Trust New Acct Info Form_REDACTED.pdf
  183.   FLECK_000061-FLECK_000065 B Fleck New Acct Info Form_REDACTED.pdf
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  185.   FLECK_000091-FLECK_000091 Fleck Fee Agreement.pdf
  186.   FLECK_000092-FLECK_000098 Fleck IPS.pdf
  187.   FLECK_000091-FLECK_000091 Fleck Fee Agreement.pdf
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  189.   2019.02.06 quarterly review FWTB_0006273

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  191. Trust document_pdf.pdf
  192. 20220701 Dkt 059-12 Ex to Def Opp to Mtn for Class Cert.pdf
  193. Joseph Rulison CV

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  194. IRS Topic No. 409, Capital Gains and Losses
  195. Yahoo Finance, https://finance.yahoo.com/
  196. Colorado Rules of Evidence, Rule 702, Testimony by Expert
  197. Federal Rules of Evidence, Rule 702, Testimony by Expert Witness
  198. S&P Global, https://www.spglobal.com
  199. Investing.com, https://www.investing.com/




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